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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY


 In re:                                               Chapter 11

 IQ DENTAL SUPPLY, LLC,

                       Debtor.


          NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY AND
           DISCLAIMER REGARDING DEBTOR’S SCHEDULES OF ASSETS
            AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       On December 8, 2023 (the “Petition Date”), IQ Dental Supply, LLC (the “Debtor”), filed
a voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the District of New Jersey.
The Debtor is operating its business and managing its affairs as debtor-in-possession pursuant to
Sections 1107(a) and 1108 of the Bankruptcy Code.

        The Debtor, with the assistance of legal advisors and other professionals, has prepared
the Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs
(the “SOFA”) pursuant to Section 521 of the Bankruptcy Code and Federal Rule of Bankruptcy
Procedure 1007. These Notes and Statement of Limitations, Methodology and Disclaimer
Regarding the Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs
(the “Notes and Disclaimers”) pertain to all of the Schedules and the SOFA. While the Debtor’s
management has made reasonable efforts to ensure that the Schedules and SOFA are accurate
and complete based on information that was available to it at the time of preparation, subsequent
information or discovery may result in changes to these Schedules and SOFA, and inadvertent
errors or omissions may exist in the Schedules and SOFA. Moreover, the Schedules and SOFA
contain unaudited information that is subject to further review and potential adjustment. Nothing
contained in the Schedules or SOFA shall constitute a waiver of any of the Debtor’s rights or an
admission with respect to this Chapter 11 case including, without limitation, any issues involving
substantive consolidation, equitable subordination and/or causes of action arising under the
provisions of Chapter 5 of the Bankruptcy Code and any other applicable laws to recover assets
or avoid transfers. These Notes and Disclaimers are incorporated by reference herein, and
comprise an integral part of, the Schedules and SOFA, and should be referred to and reviewed in
connection with any review of the Schedules and SOFA. Nothing contained on the Schedules
and SOFA shall waive any rights to assert that an alleged lease is a disguised security interest.

        Amendment. While reasonable efforts were made to file complete and accurate
Schedules and SOFA, inadvertent errors or omissions may exist. The Debtor thus reserves the
right to amend and/or supplement the Schedules and SOFA from time to time as may be
necessary or appropriate.
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        Dates. To the best of the Debtor’s ability and knowledge, all asset information is listed
as of the Petition Date and all liability information is listed as of the Petition Date.

        Basis of Presentation. The Schedules and SOFA do not purport to represent financial
information or data prepared in accordance with U.S. Generally Accepted Accounting Principles.
The Debtor reserves all rights with respect to the values, amounts and characterizations of the
assets and liabilities listed in its Schedules and SOFA.

        Causes of Action. Despite reasonable efforts to identify all known assets, the Debtor
may not have identified or set forth all of their causes of action (filed or potential) as assets in the
Schedules and SOFA. Notwithstanding this, the Debtor reserves all of its rights with respect to
any causes of action it may have, whether or not listed as assets in the Schedules and SOFA, and
neither these Notes and Disclaimers nor the Schedules and SOFA shall be deemed a waiver of
any such causes of action.

      Dates. Unless otherwise indicated, all asset and liability information in the Schedules
and SOFA is provided as of the Petition Date.

       Leases. The Debtor has not included in the Schedules and SOFA future obligations
under any leases.

         Litigation: Identification of litigation as a claim against the Debtor does not constitute
an admission or acknowledgment that the Debtor is, in fact, properly a defendant in such
litigation.

       Totals. All totals that are included in the Schedules and SOFA represent totals of all of
the known amounts included on the Schedules and SOFA. To the extent that there are unknown
or undetermined amounts, the actual total may be different than the listed total, at times
materially.

        Current Market Value of Assets. Unless otherwise indicated, net book values are
reflected in the Debtor’s Schedules and SOFA. For this reason, amounts ultimately realized may
vary from net book value and such variance may be material. Thus, unless otherwise noted, the
Schedules and SOFA reflect the carrying value of the assets as recorded on the Debtor’s books
and are not based upon any estimate of its current market value unless so indicated. Exceptions
to this include operating cash, which is presented as bank balances as of the Petition Date.
Certain other assets are listed as “Unknown” amounts because the net book values may
materially differ from fair market value. The amounts shown for assets and liabilities exclude
items identified as “Unknown” and the Debtor’s ultimate assets and liabilities may differ
materially from those stated in the Schedules and SOFA.

       Claims Descriptions. Any failure to designate a claim on the Debtor’s Schedules and
SOFA as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
Debtor that such amount is not “disputed,” “contingent” or “unliquidated.” Listing a claim does
not constitute an admission of liability by the Debtor. The Debtor reserves the right to dispute
any claims reflected on their Schedules or SOFA on any grounds, including to assert an offset or



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any defense to any claim reflected on the Schedules and/or SOFA with respect to, but not limited
to, amount, liability or classification, or to otherwise subsequently designate such claims as
“disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to amend these
Schedules and SOFA accordingly.

       Classifications. Listing a claim on (i) Schedule E as “priority” or (ii) Schedule F as
“unsecured nonpriority,” or listing a contract on Schedule G as “executory” or “unexpired,” does
not constitute an admission by the Debtor of the legal rights of the claimant, or a waiver of the
Debtor’s right to recharacterize or reclassify such claim or contract. In particular, the Debtor
reserves the right to amend the Schedules and SOFA to recharacterize or reclassify any such
contract or claim.

       Notes and Disclaimers Control. In the event the Schedules and SOFA differ from the
foregoing Notes and Disclaimers, the Notes and Disclaimers shall control.

        Recharacterization. The Debtor has made reasonable efforts to characterize, classify,
categorize or designate the claims, assets, executory contracts, unexpired leases and other items
reported in the Schedules and SOFA correctly. The Debtor, however, may have inadvertently
characterized, classified, categorized or designated certain items mistakenly. Thus, the Debtor
reserves its right to recharacterize, reclassify, recategorize or redesignate items reported in the
Schedules and SOFA at a later time as necessary or appropriate as additional information
becomes available, including, but not limited to, whether contracts listed herein were executory
as of the Petition Date or remain executory post-petition.




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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                IQ Dental Supply, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  353 Route 46W, Building C, Unit 120
                                  Fairfield, NJ 07004
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Essex                                                         Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.iqdentalsupply.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    IQ Dental Supply, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3391

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    IQ Dental Supply, LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    IQ Dental Supply, LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Sergey Kunin                                                           Sergey Kunin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Richard D. Trenk                                                        Date December 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard D. Trenk
                                 Printed name

                                 Trenk Isabel Siddiqi & Shahdanian P.C.
                                 Firm name

                                 290 W. Mt. Pleasant Avenue
                                 Suite 2370
                                 Livingston, NJ 07039
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (973) 533-1000                Email address      rtrenk@trenkisabel.law

                                 016951982 NJ
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         IQ Dental Supply, LLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 8, 2023                X /s/ Sergey Kunin
                                                           Signature of individual signing on behalf of debtor

                                                            Sergey Kunin
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name IQ Dental Supply, LLC
United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                              Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
3M Oral Care              Attn:                     Trade debt                                                                                                $332,159.67
2510 Conway               Legal/Bankruptcy
Avenue
St. Paul, MN
55144-1000                888-364-3577
Aidite                                              Trade debt                                                                                                $324,039.62
(Qinhuangdoa)
Technology Co.            407-567-7827
Advanced Dental
Materials
600 Technology
Park
Suite 108
Lake Mary, FL 32746
Air Techniques            Esteban Reinhardt         Trade debt                                                                                                $121,533.97
Products
1295 Walt Whitman         orders@airtechniq
Road                      ues.com
Melville, NY 11747        516-433-7676
Align Technology/         Attn:                     Trade debt                                                                                                  $58,890.00
iTero                     Legal/Bankruptcy
410 North
Scottsdale Road,          iterosupport@align
Suite 1300                tech.com
Tempe, AZ 85281           800-577-8767

American Eagle            Attn:                     Trade debt                                                                                                  $50,753.23
Instruments, Inc          Legal/Bankruptcy
6575 Butler Creek
Rd.                       customerservice@
Missoula, MT 59808        younginnovations.
                          com
                          (800) 551-5172




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     IQ Dental Supply, LLC                                                                    Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
American Express   Attn: Legal       Credit card                                                                                                              $128,000.00
World Financial    Department/Bankru purchases
Center             ptcy
200 Vessey Street
New York, NY 10285

American Express          Attn: Legal       Credit card                                                                                                       $513,938.28
World Financial           Department/Bankru purchases
Center                    ptcy
200 Vessey Street
New York, NY 10285
Capital One               Attn: Legal               Credit card                                                                                                 $70,220.33
1680 Capital One          Department                purchases
Drive
McLean, VA
22102-3491

Crown Delta                                         Trade debt                                                                                                $257,266.77
Corporation               914-245-8912
1520 Front Street         914-245-8910
Yorktown Heights,
NY 10598
Dentsply Caulk                                      Trade debt                                                                                                $124,935.80
Dentsply
International Inc.
570 West College
Ave
York, PA 17401

Dentsply                                            Trade debt                                                                                                $111,357.82
Professional              717-848-3739
Dentsply                  717-845-7511
International Inc.
570 West College
Ave
York, PA 17401

EcoGuard,Inc                                        Trade debt                                                                                                  $52,400.00
700 S Battleground
Ave                       704-322-3710
#103
Grover, NC 28073
Forest Dental                                       Trade debt                                                                                                $108,093.30
301 Lindenwood            forestsales@dental
Drive                     ez.com
Suite 100                 610-725-8004
Malvern, PA 19355
GC America Inc.                                     Trade debt                                                                                                $164,678.23
3737 W. 127th St
Alsip, IL 60803           800-323-7063




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     IQ Dental Supply, LLC                                                                    Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Midmark                                             Trade debt                                                                                                  $80,679.21
60 Vista Drive
Versailles, OH 45380      937-526-3662
NDC Inc.                  Attn: Marcus              Trade debt                                                                                                $230,718.27
402 BNA Drive,            Williams
Suite 500
Nashville, TN 37217       mwilliams2@ndci-i
                          nc.com
                          629-237-8815
Safe-Dent                 Hedy Worch                Trade debt                                                                                                  $49,437.75
Enterprises LLC
4 Orchard Hill Drive
Monsey, NY 10952     (845) 362-0141
Septodont                                           Trade debt                                                                                                  $54,673.71
205 Granite Run
Drive, Suite 150     800-872-8305
Lancaster, PA 17601
TD Bank                                             Credit card                                                                                                 $48,085.95
1701 Marlton Pike E                                 purchases
Cherry Hill, NJ
08003
Vatech America Inc.                                 Trade debt                                                                                                $145,897.00
2200 Fletcher
Avenue               201-210-5028
Suite 705A
Fort Lee, NJ 07024




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
             Case 23-21402-SLM                                    Doc 1           Filed 12/08/23 Entered 12/08/23 11:49:09                                                              Desc Main
                                                                                 Document     Page 15 of 113
 Fill in this information to identify the case:

 Debtor name            IQ Dental Supply, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      10,092,591.88

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      10,092,591.88


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       3,385,345.70


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       4,712,912.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          8,098,257.94




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 23-21402-SLM                  Doc 1      Filed 12/08/23 Entered 12/08/23 11:49:09                                      Desc Main
                                                        Document     Page 16 of 113
Fill in this information to identify the case:

Debtor name          IQ Dental Supply, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                      Operating Account for
           3.1.     East West Bank                                    IQ Dental Supply, LLC                 5094                                           $0.00



                                                                      Depository account for
           3.2.     East West Bank                                    IQ Dental Supply, LLC                 4700                                           $0.00



                                                                      Business Account for IQ
           3.3.     Chase Bank                                        Dental Supply, LLC                    0314                                 $126,295.82


                                                                      Business Account for
                                                                      Alliance Dental Supply,
           3.4.     TD Bank                                           Inc.                                  4549                                  $13,551.61



                                                                      Business Account for IQ
           3.5.     TD Bank                                           Dental Education Inc.                 0314                                   $5,667.72



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $145,515.15
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                     page 1
           Case 23-21402-SLM                Doc 1     Filed 12/08/23 Entered 12/08/23 11:49:09             Desc Main
                                                     Document     Page 17 of 113
Debtor            IQ Dental Supply, LLC                                           Case number (If known)
                  Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security deposit held by Di Geronimo Realty                                                   $3,300.00




           7.2.     Security deposit held by F.G.N Associates LLC                                                 $2,200.00




           7.3.     Security deposit held by LMAN LNT LLC                                                        $20,000.00




           7.4.     Security deposit held by TCII Land, LP                                                        $4,800.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepayment or credit balance paid to vendor, AFP Imaging                                       $266.15




           8.2.     Prepayment or credit balance paid to vendor, BonArt                                                 $5.00




           8.3.     Prepayment or credit balance paid to vendor, Brandt Equipment                                  $590.67




           8.4.     Prepayment or credit balance paid to vendor, Deepak / Keystone                                     $70.60




           8.5.     Prepayment or credit balance paid to vendor, DeLar                                                 $10.50




           8.6.     Prepayment or credit balance paid to vendor, Dental Chair Adaptors                             $290.00




           8.7.     Prepayment or credit balance paid to vendor, Enbio Corp.                                     $16,959.15




           8.8.     Prepayment or credit balance paid to vendor, Jazzing Imaging                                  $2,210.48


Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                     page 2
         Case 23-21402-SLM               Doc 1    Filed 12/08/23 Entered 12/08/23 11:49:09            Desc Main
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Debtor          IQ Dental Supply, LLC                                        Case number (If known)
                Name




         8.9.     Prepayment or credit balance paid to vendor, Kinetic Instruments                            $120.00



         8.10
         .    Prepayment or credit balance paid to vendor, Medtexx                                          $17,525.00



         8.11
         .    Prepayment or credit balance paid to vendor, Microbrush International                           $318.18



         8.12
         .    Prepayment or credit balance paid to vendor, Microtech                                         $1,484.26



         8.13
         .    Prepayment or credit balance paid to vendor, MTI Dental Products                                    $41.00



         8.14
         .    Prepayment or credit balance paid to vendor, Noel's Installation LLC                           $3,894.50



         8.15
         .    Prepayment or credit balance paid to vendor, Polaroid Dental Imaging                           $1,495.00



         8.16
         .    Prepayment or credit balance paid to vendor, Proma                                             $5,398.52



         8.17
         .    Prepayment or credit balance paid to vendor, RAY America                                       $3,685.00



         8.18
         .    Prepayment or credit balance paid to vendor, Safe-Vac                                          $1,350.00



         8.19
         .    Prepayment or credit balance paid to vendor, SprinRay Inc.                                     $4,906.39



         8.20
         .    Prepayment or credit balance paid to vendor, Suni Medical Imaging                              $3,400.00



         8.21
         .    Prepayment or credit balance paid to vendor, Teal's Express Inc.                                $123.00



         8.22
         .    Prepayment or credit balance paid to NJ Department of Treasury                                  $277.25

Official Form 206A/B                          Schedule A/B Assets - Real and Personal Property                    page 3
           Case 23-21402-SLM                   Doc 1      Filed 12/08/23 Entered 12/08/23 11:49:09            Desc Main
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Debtor         IQ Dental Supply, LLC                                                 Case number (If known)
               Name




           8.23
           .    Prepayment or credit balance paid to vendor, Uni-Med Midwest, Inc.                                        $19.50



           8.24
           .    Prepayment or credit balance paid to vendor, Vaniman                                                       $1.50



           8.25
           .    Prepaid commissions paid to Jerry Handleman                                                          $49,501.00



           8.26
           .    Prepaid commissions paid to Carl Radicone                                                            $65,104.00



           8.27
           .    Prepaid commissions paid to Paul Schneider                                                           $17,989.00



           8.28
           .    Prepaid commissions paid to RIchard Brot                                                             $13,066.00



           8.29
           .    Prepaid commissions paid to Chris Clemson                                                           $124,244.00



           8.30
           .    Prepaid commissions paid to Eddie Cooley                                                             $92,602.00



           8.31
           .    Prepaid commissions paid to Vince Galasso                                                             $8,665.00



           8.32
           .    Prepaid commissions paid to Alex Wallerstein                                                         $38,618.00



           8.33
           .    Prepaid commissions paid to Peter Lombardo                                                           $42,206.00




9.         Total of Part 2.                                                                                      $546,736.65
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                    page 4
          Case 23-21402-SLM                   Doc 1     Filed 12/08/23 Entered 12/08/23 11:49:09                             Desc Main
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Debtor       IQ Dental Supply, LLC                                                          Case number (If known)
             Name


          11a. 90 days old or less:                 1,820,186.15       -                                   0.00 = ....              $1,820,186.15
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                      533,977.80       -                          533,977.80 =....                           $0.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                      $1,820,186.15
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Inventory and supplies                                                     Unknown         Recent cost                    $7,579,626.93



23.       Total of Part 5.                                                                                                      $7,579,626.93
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                173,864.25 Valuation method                                    Current Value        173,864.25

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 5
          Case 23-21402-SLM                   Doc 1      Filed 12/08/23 Entered 12/08/23 11:49:09                           Desc Main
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Debtor       IQ Dental Supply, LLC                                                          Case number (If known)
             Name



Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office furniture and fixtures                                            $52,960.72                                          Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office equipment, computer and
          communcation systems equipment, and
          software                                                                 $41,117.51                                          Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2019 Chevrolet Colorado, 135,687 miles                           $12,217.17                                          Unknown


          47.2.   2022 Subaru Forester, 18,000 miles                               $25,491.69                                          Unknown


          47.3.   2018 Subaru Forester, 211,855 miles                                $6,133.16                                         Unknown


          47.4.   2019 Ford Transit, 91,176 miles                                  $30,504.14                                          Unknown


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 6
          Case 23-21402-SLM                  Doc 1      Filed 12/08/23 Entered 12/08/23 11:49:09                       Desc Main
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Debtor       IQ Dental Supply, LLC                                                     Case number (If known)
             Name



          47.5.   2017 Subaru Forester, 177,929 miles                           $3,244.52                                          Unknown


          47.6.   2018 Subaru Forester, 89,807 miles                            $6,551.04                                          Unknown


          47.7.   2021 Ford Transit, 61,281 miles                              $27,028.77                                          Unknown


          47.8.   2019 Ford Transit, 69,958 miles                              $21,531.73                                          Unknown


          47.9.   2018 Toyota Tundra, 64,042 miles                              $6,290.84                                          Unknown


          47.10
          .     2021 Ford Bronco, 60,000 miles                                 $22,989.06                                          Unknown



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                           $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Lease of Real
                  Property located at
                  151-4 W. Industry
                  Court, Deer Park, NY
                  11729                         Tenant                               $0.00                                                 $0.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 7
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Debtor        IQ Dental Supply, LLC                                                       Case number (If known)
              Name



           55.2.   Lease of Real
                   Property located at
                   I-35 Business Center,
                   Building 3, located at
                   12100 Crownpoint,
                   Suite 120, San
                   Antonio, Texas 78233          Tenant                                 $0.00                                                 $0.00


           55.3.   Lease of Real
                   Property located at
                   353C Route 46W,
                   Fairfiled, New Jersey         Tenant                                 $0.00                                                 $0.00




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           CMX Trademark                                                           Unknown                                               Unknown


           NRG Trademark                                                           Unknown                                               Unknown



61.        Internet domain names and websites
           www.iqdentalsupply.com                                                  Unknown                                               Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer list                                                           Unknown                                               Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 8
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Debtor        IQ Dental Supply, LLC                                                        Case number (If known)
              Name


66.        Total of Part 10.                                                                                                                  $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
                                                                            384.00 -                                   0.00 =
           Employee loan made to Deng Zhang                      Total face amount      doubtful or uncollectible amount                     $384.00


           Employee loan made to Robert                                     143.00 -                                   0.00 =
           Pujols                                                Total face amount      doubtful or uncollectible amount                     $143.00



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities
           Federal Insurance Company/Hartford Fire Insurance Co.
           Commerical General Liability, Automative Liability,
           Worker's Compensation and Products Liability
           Insurance
           Policy Nos. 36059019, 73629327, 78197652,
           13WBCRO9964 and 36059018 FPO                                                                                                         $0.00


           UPS Capital Insurance Agency, Inc. Shipping Insurance
           Policy # 15914024-151380-9                                                                                                           $0.00


           Selective Insurance Management Liability Insurance and
           Employment Practices Liability Insurance
           Policy No. MY 1000442                                                                                                                $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 9
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Debtor      IQ Dental Supply, LLC                                                   Case number (If known)
            Name

         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership
         Alliance Dental Supply, Inc. (EIN XX-XXXXXXX) Debtor
         owns 100% of the shares.                                                                                   Unknown


         IQ Dental Education Inc. (EIN XX-XXXXXXX) Debtor owns
         100% of the shares.                                                                                        Unknown




78.      Total of Part 11.                                                                                          $527.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 10
            Case 23-21402-SLM                             Doc 1        Filed 12/08/23 Entered 12/08/23 11:49:09                                           Desc Main
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Debtor          IQ Dental Supply, LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $145,515.15

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $546,736.65

82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,820,186.15

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $7,579,626.93

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                       $527.00

91. Total. Add lines 80 through 90 for each column                                                       $10,092,591.88             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,092,591.88




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 11
           Case 23-21402-SLM                         Doc 1      Filed 12/08/23 Entered 12/08/23 11:49:09                                   Desc Main
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Fill in this information to identify the case:

Debtor name          IQ Dental Supply, LLC

United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    East West Bank                               Describe debtor's property that is subject to a lien              $3,351,651.70                 Unknown
       Creditor's Name                              Blanket lien on substantially all assets of the
                                                    Debtor
       9300 Flair Drive, 6th Floor
       El Monte, CA 91731
       Creditor's mailing address                   Describe the lien
                                                    UCC
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0241
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    GM Financial                                 Describe debtor's property that is subject to a lien                    $8,275.00               Unknown
       Creditor's Name                              2019 Chevrolet Colorado, 135,687 miles
       801 Cherry Street, Suite
       3500
       Fort Worth, TX 76102
       Creditor's mailing address                   Describe the lien
                                                    Auto loan
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7452
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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Debtor       IQ Dental Supply, LLC                                                                 Case number (if known)
             Name

        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.3    Subaru Motors Finance                       Describe debtor's property that is subject to a lien                      $25,419.00              Unknown
       Creditor's Name                             2022 Subaru Forester, 18,000 miles
       14800 Frye Road
       Fort Worth, TX 76155-2732
       Creditor's mailing address                  Describe the lien
                                                   Auto loan
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1123
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



                                                                                                                            $3,385,345.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Che Lai Chang
        East West Bank                                                                                      Line   2.1
        535 Madison Avenue, 8th Floor
        New York, NY 10022

        East West Bank Corporate Headquaters
        135 N. Robles Avenue                                                                                Line   2.1
        Pasadena, CA 91101

        GM Financial
        PO Box 183593                                                                                       Line   2.2
        Arlington, TX 76096-3834




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
           Case 23-21402-SLM                        Doc 1     Filed 12/08/23 Entered 12/08/23 11:49:09                                         Desc Main
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Fill in this information to identify the case:

Debtor name        IQ Dental Supply, LLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Division of Taxation                                Check all that apply.
          124 Halsey Street                                    Contingent
          2nd Floor                                            Unliquidated
          Newark, NJ 07102
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Noticing Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Internal Revenue Service                            Check all that apply.
          Special Procedures Branch                            Contingent
          PO Box 744                                           Unliquidated
          Springfield, NJ 07081-0744
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              For Noticing Purposes Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 38
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Debtor      IQ Dental Supply, LLC                                                                    Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         Attn: District Director                             Contingent
         955 S. Springfield Avenue                           Unliquidated
         Springfield, NJ 07081
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         Office of the Chief Counsel                         Contingent
         1 Newark Center, Suite 1500                         Unliquidated
         Newark, NJ 07102
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                         Contingent
         Philadelphia, PA 19101-7346                         Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         New Jersey Division of Taxation                    Check all that apply.
         Bankruptcy Section                                  Contingent
         PO Box 245                                          Unliquidated
         Trenton, NJ 08695-0245
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               Page 2 of 38
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Debtor      IQ Dental Supply, LLC                                                                    Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         NYC Dept. of Finance                               Check all that apply.
         Office of Legal Affairs                             Contingent
         375 Pearl Street, 30th Floor                        Unliquidated
         New York, NY 10038
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         NYS Dept. Taxation & Finance                       Check all that apply.
         Bankruptcy/Special Procedures                       Contingent
         Section                                             Unliquidated
         P.O. Box 5300
         Albany, NY 12205-0300                               Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         Office of the Attorney General                     Check all that apply.
         Division of Law                                     Contingent
         PO Box 080                                          Unliquidated
         Trenton, NJ 08625-0080
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00   $0.00
         State of New Jersey                                Check all that apply.
         Division of Taxation                                Contingent
         Sales & Use Tax                                     Unliquidated
         PO Box 999
         Trenton, NJ 08625                                   Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Noticing Purposes Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               Page 3 of 38
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              Name

2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
           State of New Jersey                                  Check all that apply.
           Division of Taxation - GIT                            Contingent
           50 Barrack Street                                     Unliquidated
           PO Box 269
           Trenton, NJ 08625                                     Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                For Noticing Purposes Only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.12       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
           State of New Jersey                                  Check all that apply.
           Department of Labor                                   Contingent
           Divison of Employer Accounts                          Unliquidated
           PO Box 379
           Trenton, NJ 08625-0059                                Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                For Noticing Purposes Only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.13       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
           Texas Comptroller of Public                          Check all that apply.
           Accounts                                              Contingent
           Revenue Accounting Division -                         Unliquidated
           Bankruptcy
           P.O. Box 13528 Capitol Station                        Disputed
           Austin, TX 78711
           Date or dates debt was incurred                      Basis for the claim:
                                                                For Noticing Purposes Only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.14       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
           United States Attorney                               Check all that apply.
           970 Broad Street                                      Contingent
           5th Floor                                             Unliquidated
           Newark, NJ 07102
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                For Noticing Purposes Only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim



Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 38
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Debtor      IQ Dental Supply, LLC                                                           Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $332,159.67
         3M Oral Care                                               Contingent
         PO Box 371227                                              Unliquidated
         Pittsburgh, PA 15250-7227                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,881.69
         A-Titan Instruments                                        Contingent
         10 Centre Dr.                                              Unliquidated
         Hamburg, NY 14127                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $17,062.90
         Accutron Inc.                                              Contingent
         P.O.Box 74007016                                           Unliquidated
         Chicago, IL 60674-7016                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $887.28
         ACE Surgical Supply                                        Contingent
         1034 Pearl Street                                          Unliquidated
         PO Box 1710                                                Disputed
         Brockton, MA 02303
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,922.12
         Acteon, Inc                                                Contingent
         124 Gaither Drive Suite 140                                Unliquidated
         Mount Laurel, NJ 08054                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         AFP Imaging
         ImageWorks                                                 Contingent
         8 Westchester Plaza                                        Unliquidated
         Suite 112                                                  Disputed
         Elmsford, NY 10523
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $324,039.62
         Aidite (Qinhuangdoa) Technology Co.
         Advanced Dental Materials                                  Contingent
         600 Technology Park                                        Unliquidated
         Suite 108                                                  Disputed
         Lake Mary, FL 32746
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes



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            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $121,533.97
         Air Techniques Products                                    Contingent
         1295 Walt Whitman Road                                     Unliquidated
         Melville, NY 11747                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $58,890.00
         Align Technology/ iTero                                    Contingent
         PO Box 742531                                              Unliquidated
         Los Angeles, CA 90074-2531                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $327.50
         Aluwax Dental Product                                      Contingent
         P.O. Box 87                                                Unliquidated
         Allendale, MI 49401                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $50,753.23
         American Eagle Instruments, Inc                            Contingent
         6575 Butler Creek Rd.                                      Unliquidated
         Missoula, MT 59808                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,774.34
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 4001
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $128,000.00
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 1018
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,530.00
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $513,938.28
         American Express                                           Contingent
         PO Box 1270                                                Unliquidated
         Newark, NJ 07101-1270                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 3008
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $600.30
         Ansell Healthcare Products LLC                             Contingent
         Dept CH 17373                                              Unliquidated
         Palatine, IL 60055-7373                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $880.06
         Arnel Inc                                                  Contingent
         73 High Street                                             Unliquidated
         Hempstead, NY 11550                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $387.40
         Aseptico                                                   Contingent
         8333 216th Street SE                                       Unliquidated
         Woodinville, WA 98072-1548                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,952.95
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6196
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,906.68
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 8784
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,869.97
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 7078
                                                                   Is the claim subject to offset?    No  Yes




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            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $41,288.46
         Bank of America                                            Contingent
         3558 James Ave N                                           Unliquidated
         Minneapolis, MN 55412-2438                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 0841
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,228.75
         Bausch                                                     Contingent
         12 Murphy Drive, Unit 4                                    Unliquidated
         Nashua, NH 03062                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $473.13
         Beavers / Kerr                                             Contingent
         Fifth Third Bank                                           Unliquidated
         5050 Kingsley Drive                                        Disputed
         Cincinnati, OH 45227
                                                                   Basis for the claim: Credit card purchases
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,267.45
         Beaverstate Dental, Inc                                    Contingent
         115 South Elliott Rd                                       Unliquidated
         Newberg, OR 97132                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,261.07
         Bien Air                                                   Contingent
         8861 Research Drive                                        Unliquidated
         Irvine, CA 92618                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $820.00
         Biotec, Inc                                                Contingent
         652 E. Main Ave.                                           Unliquidated
         Zeeland, MI 49464-1399                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $474.00
         Blazer Products, Inc                                       Contingent
         88-90 Allen Blvd                                           Unliquidated
         Farmingdale, NY 11735                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         BonArt                                                     Contingent
         550 Yorbita Rd
         La Puente, CA 91744
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brandt Equipment                                           Contingent
         4461 Bronx Blvd.
         Bronx, NY 10470-1496
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $192.09
         Bravo! Building Services, Inc.                             Contingent
         1260 Centennial Avenue                                     Unliquidated
         Piscataway, NJ 08854                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $776.00
         Brewer                                                     Contingent
         N88 W 13901 Main Street                                    Unliquidated
         Suite 100                                                  Disputed
         Menomonee Falls, WI 53051
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,304.97
         Buffalo Dental Manufacture Co                              Contingent
         159 Lafayette Dr.                                          Unliquidated
         P.O. Box 678                                               Disputed
         Syosset, NY 11791-0678
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $446.50
         Bulbworks, Inc                                             Contingent
         P.O. Box 586                                               Unliquidated
         Succasunna, NJ 07876                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $960.99
         CAO Group                                                  Contingent
         4628 W Skyhawk Drive                                       Unliquidated
         West Jordan, UT 84084                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $70,220.33
         Capital One                                                Contingent
         PO Box 71083                                               Unliquidated
         Charlotte, NC 28272-1083                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 5282
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $224.00
         Cefla North America, Inc                                   Contingent
         6125 Harris Technology Blvd                                Unliquidated
         Charlotte, NC 28269                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,641.32
         Centrix                                                    Contingent
         P.O. Box 527                                               Unliquidated
         Stratford, CT 06615-0527                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $210.00
         Chapman-Huffman                                            Contingent
         320 S.E. Brideford Blvd                                    Unliquidated
         Bend, OR 97702                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,982.47
         Chase                                                      Contingent
         PO Box 6294                                                Unliquidated
         Carol Stream, IL 60197-6294                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 9632
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,833.18
         CitiCard                                                   Contingent
         PO Box 70166                                               Unliquidated
         Philadelphia, PA 19176-0166                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 7631
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,353.50
         Clik Tech, Inc                                             Contingent
         12281 N. 120th Street                                      Unliquidated
         Scottsdale, AZ 85259                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $28,466.54
         Coltène/Whaledent Inc.                                     Contingent
         Department 781842                                          Unliquidated
         PO Box 78000                                               Disputed
         Detroit, MI 48278-1842
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,047.50
         CONAMCO S.A. de C.V.                                       Contingent
         Medental Intl                                              Unliquidated
         3008 Palm Hill Dr                                          Disputed
         Vista, CA 92084
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,623.20
         Consolidated Paper Group, Inc                              Contingent
         P.O Box 51866                                              Unliquidated
         Bowling Green, KY 42104                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,797.38
         Crosstex International                                     Contingent
         PO Box 74008664                                            Unliquidated
         Chicago, IL 60674-8664                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $257,266.77
         Crown Delta Corporation                                    Contingent
         1520 Front Street                                          Unliquidated
         Yorktown Heights, NY 10598                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,697.50
         Crown Seating                                              Contingent
         7300 South Tucson Way                                      Unliquidated
         Centennial, CO 80112                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64.53
         Curtis Marsh                                               Contingent
         9 Beechwood Rd                                             Unliquidated
         West Caldwell, NJ 07006                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $109.60
         Cuting Edge Instrument, Inc                                Contingent
         P.O. Box 715602                                            Unliquidated
         Columbus, OH 43271-5602                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,111.49
         Danville Materials                                         Contingent
         2875 Loker Avenue E                                        Unliquidated
         Carlsbad, CA 92010                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $129.60
         Darby Dental Supply LLC                                    Contingent
         PO Box 26582                                               Unliquidated
         New York, NY 10087-6582                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,336.21
         DCI Fulfilment Solutions                                   Contingent
         361 E Water St                                             Unliquidated
         Gettysburg, PA 17325                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,602.84
         DCI International
         Dental Components LLC                                      Contingent
         Mail Stop 76                                               Unliquidated
         PO Box 4300                                                Disputed
         Portland, OR 97208
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,011.87
         Dedeco International, Inc.                                 Contingent
         11617 State Route 97                                       Unliquidated
         Long Eddy, NY 12760-0244                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Deepak / Keystone                                          Contingent
         480 S Democrat Road
         Gibbstown, NJ 08027
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes




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3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         DeLar                                                      Contingent
         P.O. Box 226
         Lake Oswego, OR 97034
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $739.22
         DenMat                                                     Contingent
         1017 W Central Ave                                         Unliquidated
         Lompoc, CA 93436                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dental Chair Adaptors                                      Contingent
         PO Box 818
         Big Bear City, CA 92314
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,170.00
         Dental Connections                                         Contingent
         114 41st Street                                            Unliquidated
         Brooklyn, NY 11232-3320                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $291.00
         DentalEZ / Custom Air                                      Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,918.18
         DentalEZ / Ramvac                                          Contingent
         301 Lindenwood Drive, Suite 100                            Unliquidated
         Malvern, PA 19355                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,728.00
         DentalEZ / Star Dental                                     Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $286.00
         Dentamerica Inc                                            Contingent
         18688 E. San Jose Avenue                                   Unliquidated
         City of Industry, CA 91748                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $156.00
         Denti Smart                                                Contingent
         1810 Industrial Park Drive                                 Unliquidated
         Suite A                                                    Disputed
         Grand Haven, MI 49417
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $708.00
         Dentonics,Inc                                              Contingent
         2833 Tophill Road                                          Unliquidated
         Monroe, NC 28110                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $124,935.80
         Dentsply Caulk
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,780.70
         Dentsply Maillefer
         Dentsply Maillefer                                         Contingent
         Dept. TUL                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $137.64
         Dentsply Midwest
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,126.68
         Dentsply Pharmaceutical
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes

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3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $111,357.82
         Dentsply Professional
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,282.47
         Dentsply Rinn
         Dentsply International Inc.                                Contingent
         Dept. DNA                                                  Unliquidated
         P.O.Box 822462                                             Disputed
         Philadelphia, PA 19182-2462
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,062.82
         Dexis LLC                                                  Contingent
         450 Commerce Drive                                         Unliquidated
         Quakertown, PA 18951                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,737.50
         Dharma Research                                            Contingent
         5220 NW 72nd Avenue                                        Unliquidated
         Bay #15                                                    Disputed
         Miami, FL 33166
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $899.80
         Diadent Group International Inc                            Contingent
         11-3871 North Fraser Way                                   Unliquidated
         Burnany BC V5J5G6                                          Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $635.25
         Directa, Inc (ContacEZ)                                    Contingent
         PO Box 9004                                                Unliquidated
         Edgewood, NY 11717                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $30,921.15
         Discover Bank                                              Contingent
         PO Box 70176                                               Unliquidated
         Philadelphia, PA 19176-0176                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6555
                                                                   Is the claim subject to offset?    No  Yes



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3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,837.55
         DMG America LLC                                            Contingent
         65 Challenger Road                                         Unliquidated
         Suite 340                                                  Disputed
         Ridgefield Park, NJ 07660
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $537.00
         Dri-Angle/ Dental Health Products                          Contingent
         4600 Witmer Industrial Estates Road                        Unliquidated
         Suite 8                                                    Disputed
         Niagara Falls, NY 14305
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,037.10
         E. C. Moore Company, Inc                                   Contingent
         13325 Leonard St                                           Unliquidated
         PO Box 353                                                 Disputed
         Dearborn, MI 48121
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,400.00
         EcoGuard,Inc                                               Contingent
         700 S Battleground Ave                                     Unliquidated
         #103                                                       Disputed
         Grover, NC 28073
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,600.00
         Emerson Healthcare                                         Contingent
         PO Box 37835                                               Unliquidated
         Baltimore, MD 21297-7835                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Enbio Corp                                                 Contingent
         3535 Gravel Springs Rd
         Suite 205
                                                                    Unliquidated
         Buford, GA 30519                                           Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $135.00
         Engle Dental Systems, LLC                                  Contingent
         7205 NW Evergreen PKWY                                     Unliquidated
         Suite 100                                                  Disputed
         Hillsboro, OR 97124
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,271.16
         Essential Dental Systems, Inc                              Contingent
         89 Leuning Street                                          Unliquidated
         South Hackensack, NJ 07606                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,413.18
         FedEx                                                      Contingent
         P.O. Box 371461                                            Unliquidated
         Pittsburgh, PA 15250-7461                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $197.50
         Flight Dental Systems                                      Contingent
         21 Kenview Blvd #9                                         Unliquidated
         Brampton, ON T6T 5G7                                       Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,098.40
         FlossAid Corporation                                       Contingent
         PO Box 624                                                 Unliquidated
         Santa Clara, CA 95052                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $579.42
         Flow X-Ray Corporation                                     Contingent
         Flow Dental Corporation                                    Unliquidated
         133 Wolf Road                                              Disputed
         Battleboro, NC 27809
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,099.20
         Focus Global
         1057 Steeles Ave West                                      Contingent
         Suite 81691                                                Unliquidated
         North York ON M2R 2S0                                      Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $108,093.30
         Forest Dental                                              Contingent
         301 Lindenwood Drive                                       Unliquidated
         Suite 100                                                  Disputed
         Malvern, PA 19355
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $164.78
         G&H Orthodontics                                           Contingent
         G & H Wire Company                                         Unliquidated
         2165 Earlywood Drive                                       Disputed
         Franklin, IN 46131
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $164,678.23
         GC America Inc.                                            Contingent
         3737 W. 127th St                                           Unliquidated
         Alsip, IL 60803                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $234.78
         George Taub Products                                       Contingent
         277 New York Ave                                           Unliquidated
         Jersey City, NJ 07307                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,311.10
         Gill Mechanical Company                                    Contingent
         PO Box 24628                                               Unliquidated
         Eugene, OR 97402                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,311.10
         Gingi-Pak                                                  Contingent
         4825 Calle Alto                                            Unliquidated
         Camarillo, CA 93012                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,035.00
         Great Plains Dental Product, Inc                           Contingent
         111 East A Avenue                                          Unliquidated
         P.O.Box 515                                                Disputed
         Kingman, KS 67068
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,001.02
         Hager Worldwide                                            Contingent
         441 19th Street SE                                         Unliquidated
         Hickory, NC 28602                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $165.99
         Headsets com                                               Contingent
         211 Austin St                                              Unliquidated
         San Francisco, CA 94109                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,452.69
         Heartsmart.com / Phillips                                  Contingent
         P.O.Box 1301                                               Unliquidated
         New Milford, CT 06776                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $61.00
         Hexa Dental                                                Contingent
         5211 E. Washington Blvd                                    Unliquidated
         Ste#2-201                                                  Disputed
         Commerce, CA 90040
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $851.87
         Holmes Dental Company                                      Contingent
         50 S. Penn Street                                          Unliquidated
         Hatboro, PA 19040                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,610.00
         Hooker Sale Co. Inc.                                       Contingent
         PO Box 491333                                              Unliquidated
         Leesburg, FL 34749-1333                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,736.63
         HPTC, Inc                                                  Contingent
         20793 Farmington Road                                      Unliquidated
         Farmington, MI 48336                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,070.87
         Hu-Friedy                                                  Contingent
         29254 Network Place                                        Unliquidated
         Chicago, IL 60673-1292                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $227.68
         IC Care                                                    Contingent
         2652 McGaw Ave                                             Unliquidated
         Irvine, CA 92614                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,772.65
         IDS                                                        Contingent
         920 W. 84th Street                                         Unliquidated
         Hialeah, FL 33014                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,459.94
         Integra LifeSciences Sales LLC.                            Contingent
         P.O.Box 404129                                             Unliquidated
         Atlanta, GA 30384-4129                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,370.00
         Isolate Systems                                            Contingent
         I 2 Air Fluid Innovations, Inc.                            Unliquidated
         14 Valleywood Dr                                           Disputed
         Huntington Station, NY 11746
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,554.24
         Ivoclar Vivadent                                           Contingent
         175 Pineview Drive                                         Unliquidated
         Amherst, NY 14228                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,599.90
         J&J Instruments, LLC                                       Contingent
         1666 East Touhy Avenue                                     Unliquidated
         Des Plaines, IL 60018                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,373.90
         Jarahi International                                       Contingent
         P.O.Box 645                                                Unliquidated
         Lake Hopatcong, NJ 07849                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $880.00
         Jay H Katz                                                 Contingent
         450 Seventh Ave, Suite 1308                                Unliquidated
         New York, NY 10123                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jazz Imaging                                               Contingent
         770 Charcot Ave
         Suite 100
                                                                    Unliquidated
         San Jose, CA 95131                                         Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $878.13
         Johnson-Promident                                          Contingent
         PO Box 734047                                              Unliquidated
         Chicago, IL 60673-1257                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $964.80
         JR Rand Corporation                                        Contingent
         300 Buffalo Ave                                            Unliquidated
         Freeport, NY 11520                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,282.55
         KaVo Dental                                                Contingent
         11727 Fruehauf Drive                                       Unliquidated
         Charlotte, NC 28273                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $42,811.08
         Kerr                                                       Contingent
         Kerr Corporation (Lockbox 14338)                           Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,817.75
         Keystone Industries                                        Contingent
         480 S. Democrat Road                                       Unliquidated
         Gibbstown, NJ 08027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kinetic Instruments Inc                                    Contingent
         17 Berkshire Boulevard
         Bethel, CT 06801
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,615.35
         Kulzer, LLC                                                Contingent
         24646 Network Place                                        Unliquidated
         Chicago, IL 60673-1246                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,108.85
         Kuraray America, Inc.                                      Contingent
         PO Box 123122                                              Unliquidated
         Dallas, TX 75312-3122                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,532.90
         L&R Manufacturing                                          Contingent
         577 Elm Street                                             Unliquidated
         P.O Box 607                                                Disputed
         Kearny, NJ 07032-0607
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,215.37
         L.L.Bean Inc.                                              Contingent
         Financial Accounting Services                              Unliquidated
         PO Box 1847                                                Disputed
         Albany, NY 12201-1847
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Larissa Kunin
         Starr, Gern, Davison & Rubin PC                            Contingent
         Attn: Bruce Pitman & Alona Magidova                        Unliquidated
         105 Eisenhower Parkway, Suite 401                          Disputed
         Roseland, NJ 07068
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,903.79
         Lexus Financial Services                                   Contingent
         PO Box 659820                                              Unliquidated
         San Antonio, TX 78265-9120                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 0549
                                                                   Is the claim subject to offset?    No  Yes



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3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,700.40
         LG H&H USA, INC.                                           Contingent
         PO Box 894495                                              Unliquidated
         Los Angeles, CA 90189-4495                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $108.00
         LumaLite, Inc.                                             Contingent
         2830 Via Orange Way                                        Unliquidated
         Suite B                                                    Disputed
         Purchase, NY 10577
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,905.66
         Luxury Card                                                Contingent
         PO Boz 13337                                               Unliquidated
         Philadelphia, PA 19101-3337                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6236
                                                                   Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $677.00
         Madison Pension Services                                   Contingent
         Concierge Retirement Services Inc.                         Unliquidated
         2500 Westchester Avenue, Suite 106                         Disputed
         Purchase, NY 10577
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,000.00
         Mainline Medical Dental Supplies                           Contingent
         100-102 Rossdean Drive                                     Unliquidated
         New York ON M9L 2S1                                        Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matthew E. Frisch, Esq.                                    Contingent
         Pashman Stein Walder Hayden PC
         Court Plaza South, 21 Main St #200
                                                                    Unliquidated
         Plainfield, NJ 07061                                       Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $162.68
         Maximum Dental                                             Contingent
         9 Branwood Drive                                           Unliquidated
         Dix Hills, NY 11746                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,000.00
         MCC Modular &Custom Cabinets
         10721 Keele Street N                                       Contingent
         PO Box 580                                                 Unliquidated
         Maple ON L6A 1S5                                           Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,887.40
         Medicom
         AMD Medicom Inc.                                           Contingent
         6054 Shook Road                                            Unliquidated
         Suite 200                                                  Disputed
         Lockbourne, OH 43137
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Medtexx
         Semperit Investments Asia Pte Ltd (SIA)                    Contingent
         8 Jurong Town Hall Road                                    Unliquidated
         #12-05/06 JTC Summit 609434                                Disputed
         SINGAPORE
                                                                   Basis for the claim: For Noticing Purposes Only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $971.75
         Meisinger                                                  Contingent
         10150 E. Easter Ave                                        Unliquidated
         Centennial, CO 80112                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,945.88
         Metrex                                                     Contingent
         Metrex Research LLC (Lockbox 14340)                        Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Microbrush International                                   Contingent
         25788 Network Place
         Chicago, IL 60673-1257
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,121.90
         Microcopy                                                  Contingent
         3120 Moon Station Rd                                       Unliquidated
         Kennesaw, GA 30144-2765                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes

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3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Microtech                                                  Contingent
         3030 S. Fairview St, Suite A
         Santa Ana, CA 92704
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $80,679.21
         Midmark                                                    Contingent
         60 Vista Drive                                             Unliquidated
         Versailles, OH 45380                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $413.60
         Mizzy / Keystone                                           Contingent
         480 S Democrat Road                                        Unliquidated
         Gibbstown, NJ 08027                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,462.21
         Moore Medical LLC / McKesson                               Contingent
         1690 New Britain Avenue                                    Unliquidated
         Farmington, CT 06032                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         MTI Dental Products                                        Contingent
         730 Airport Road
         Unit 1
                                                                    Unliquidated
         Lakewood, NJ 08701                                         Disputed
         Date(s) debt was incurred                                 Basis for the claim: For Noticing Purposes Only
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,860.30
         Myco Medical                                               Contingent
         PO Box 896578                                              Unliquidated
         Charlotte, NC 28289-6578                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $230,718.27
         NDC Inc.                                                   Contingent
         402 BNA Drive, Suite 500                                   Unliquidated
         Nashville, TN 37217                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,631.01
         NetSuite, Inc.
         Celigo,Inc                                                 Contingent
         Dept 0402                                                  Unliquidated
         PO Box 120402                                              Disputed
         Dallas, TX 75312-0402
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Noel's Installation LLC                                    Contingent
         5919 Summerdale Ave
         Philadelphia, PA 19149
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,642.93
         Nordent Manufacturing Inc.                                 Contingent
         610 Bonnie Lane                                            Unliquidated
         Elk Grove Village, IL 60007                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,276.71
         NSK America                                                Contingent
         1800 Global Parkway                                        Unliquidated
         Hoffman Estates, IL 60192                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $48.50
         Ortech Controls                                            Contingent
         14739 Aurora Ave N UNIT 120                                Unliquidated
         Seattle, WA 98133                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $483.99
         OrthoQuest/Plak Smacker                                    Contingent
         PO Box 734362                                              Unliquidated
         Chicago, IL 60673                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,453.60
         Pac-Dent, Inc                                              Contingent
         670 Endeavor Circle                                        Unliquidated
         Brea, CA 92821                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,973.70
         Palmero Health Care                                        Contingent
         120 Goodwin Place                                          Unliquidated
         Stratford, CT 06615-6713                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,314.04
         Parkell                                                    Contingent
         300 Executive Drive PO Box 9004                            Unliquidated
         Brentwood, NY 11717                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,869.40
         Parker Hannfin Cor / Porter Instrument                     Contingent
         7930 Collection Center Drive                               Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,400.00
         Parts Warehouse                                            Contingent
         309 Judson                                                 Unliquidated
         Lynden, WA 98264                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,670.70
         Pascal International, Inc                                  Contingent
         2929 NE Northup Way                                        Unliquidated
         Bellevue, WA 98004                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,836.89
         PDT Inc                                                    Contingent
         8275 Highway 10 West                                       Unliquidated
         PO Box 17980                                               Disputed
         Missoula, MT 59808
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,574.04
         Pentron /Kerr Corp.                                        Contingent
         14338 Collection Center Drive                              Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,202.53
         Pinnacle                                                   Contingent
         Pinnacle (Lockbox 14340)                                   Unliquidated
         540 W.Madison,4th Floor                                    Disputed
         Chicago, IL 60661
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,312.60
         PIX                                                        Contingent
         Minimax                                                    Unliquidated
         133 Wolf Road                                              Disputed
         Battleboro, NC 27809
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,000.00
         PKF O'Connor Davies,LLP                                    Contingent
         300 Tice Boulevard                                         Unliquidated
         Suite 315                                                  Disputed
         Woodcliff Lake, NJ 07677
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,311.30
         Plasdent Corporation                                       Contingent
         969 Price Street                                           Unliquidated
         Pomona, CA 91767                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Polaroid Dental Imaging                                    Contingent
         8 Jay Court
         Monsey, NY 10952
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,013.00
         Premier                                                    Contingent
         PO Box 825429                                              Unliquidated
         Philadelphia, PA 19182-5429                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,847.00
         Preventech                                                 Contingent
         PO Box 1409                                                Unliquidated
         Indian Trail, NC 28079                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,056.00
         ProEdge Dental Product                                     Contingent
         7042 S Revere Parkway, Suite 400                           Unliquidated
         Centennial, CO 80112
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Proma                                                      Contingent
         730 East Kingshill Place
         Carson, CA 90746-1392
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,585.50
         ProxySoft Worldwide,Inc                                    Contingent
         17 C Trowbridge Drive                                      Unliquidated
         Bethel, CT 06801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,138.55
         Pulpdent Corp                                              Contingent
         P.O. BOX 780                                               Unliquidated
         Watertown, MA 02471-0780                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $87.95
         PuraGraft                                                  Contingent
         22001 Northpark Drive, Suite 700                           Unliquidated
         Kingwood, TX 77339                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $187.20
         Quality Aspirators                                         Contingent
         PO Box 382120                                              Unliquidated
         Duncanville, TX 75138                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,569.99
         Quality Dental                                             Contingent
         42 Rutland Road                                            Unliquidated
         Hempstead, NY 11550                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         RAY America                                                Contingent
         400 Kelby St .Ste 1500
         Fort Lee, NJ 07024
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $685.61
         Rebec                                                      Contingent
         PO Box 658                                                 Unliquidated
         Edmonds, WA 98020                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $815.26
         Replacement Parts Industries, Inc                          Contingent
         PO Box 713198                                              Unliquidated
         Chicago, IL 60677-0398                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $329.40
         Revion Solutions Incorporated                              Contingent
         184 South Livingston Ave                                   Unliquidated
         STE 9#306                                                  Disputed
         Livingston, NJ 07039
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,739.56
         Richmond Dental Company                                    Contingent
         Dept.720082                                                Unliquidated
         PO Box 1335                                                Disputed
         Charlotte, NC 28201-1335
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,176.20
         Roydent                                                    Contingent
         608 Rolling Hills Drive                                    Unliquidated
         Johnson City, TN 37604                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,373.32
         Sable Industries Inc                                       Contingent
         100 Campbell Ave., Suite 5                                 Unliquidated
         Kitchener ON N2H 4X8                                       Disputed
         CANADA
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $49,437.75
         Safe-Dent Enterprises LLC                                  Contingent
         4 Orchard Hill Drive                                       Unliquidated
         Monsey, NY 10952                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Safe-Vac                                                   Contingent
         6745 Elegante Way
         San Diego, CA 92130
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,621.11
         Sanford Levine & Sons                                      Contingent
         400 Rt 46 East                                             Unliquidated
         Fairfield, NJ 07004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $17,912.81
         SDI                                                        Contingent
         1279 Hamilton Parkway                                      Unliquidated
         Itasca, IL 60143                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $54,673.71
         Septodont                                                  Contingent
         205 Granite Run Drive, Suite 150                           Unliquidated
         Lancaster, PA 17601                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $308,741.00
         Sergey Kunin                                               Contingent
         78 Weinmanns Blvd.                                         Unliquidated
         Wayne, NJ 07470                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9.54
         Sherman Specialty Company                                  Contingent
         300 Jericho Quadrangle                                     Unliquidated
         Suite 240 West                                             Disputed
         Jericho, NY 11753
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,687.63
         Shofu Dental Corporation                                   Contingent
         1225 Stone Drive                                           Unliquidated
         San Marcos, CA 92078-4059                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,145.53
         Solmetex                                                   Contingent
         50 Bearfoot Road                                           Unliquidated
         Northborough, MA 01532                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,566.14
         South East Instruments, LLC                                Contingent
         Pac-Dent                                                   Unliquidated
         670 Endeavor Circle                                        Disputed
         Brea, CA 92821
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,789.35
         Southeast Medical Products, Inc                            Contingent
         5524 Commerce Dr                                           Unliquidated
         Orlando, FL 32839                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,798.95
         Spring Health Products                                     Contingent
         705 General Washington Ave, Suite 701                      Unliquidated
         Norristown, PA 19403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         SprintRay Inc.                                             Contingent
         3577 N Figueroa St
         Los Angeles, CA 90065
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,430.00
         SS White Burs, Inc.                                        Contingent
         1145 Towbin Avenue                                         Unliquidated
         Lakewood, NJ 08701                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $763.84
         Strauss Diamond Instruments Inc.                           Contingent
         9 Florida Park Drive N.                                    Unliquidated
         Palm Coast, FL 32137                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.97
         Suburban Propane                                           Contingent
         PO Box J                                                   Unliquidated
         Whippany, NJ 07981-0409                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $314.90
         Summit Dental Systems                                      Contingent
         1280 SW 27 Avenue                                          Unliquidated
         Pompano Beach, FL 33069                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Suni Medical Imaging                                       Contingent
         6840 Via Del Oro, Suite 160
         San Jose, CA 95119
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $181.26
         Superior Handling Solutions                                Contingent
         PO Box 257                                                 Unliquidated
         Howell, NJ 07731-0257                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $414.50
         Superior Upholstery                                        Contingent
         2103 W Church St.                                          Unliquidated
         Orlando, FL 32805                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,671.02
         Surgical Esthetics                                         Contingent
         19355 Business Center Drive Unit #8                        Unliquidated
         Northridge, CA 91324                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,558.69
         Surgical Specialties Corporation                           Contingent
         1100 Berkshire Blvd, Suite 308                             Unliquidated
         Wyomissing, PA 19610                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $380.00
         SymplBrush                                                 Contingent
         1562 1st Ave.                                              Unliquidated
         New York, NY 10028                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,735.80
         Takara Belmont USA, Inc                                    Contingent
         PO Box 358141                                              Unliquidated
         Pittsburgh, PA 15251-5141                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,085.95
         TD Bank                                                    Contingent
         1701 Marlton Pike E                                        Unliquidated
         Cherry Hill, NJ 08003                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number 6848
                                                                   Is the claim subject to offset?    No  Yes
3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Teal's Express, Inc.                                       Contingent
         PO Box 6010
         Watertown, NY 13601
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $641.18
         Temrex Corp.                                               Contingent
         300 Buffalo Ave                                            Unliquidated
         Freeport, NY 11520                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $641.18
         TForce Freight                                             Contingent
         28013 Network Place                                        Unliquidated
         Chicago, IL 60673-1280                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $80.00
         The Dental Repair Specialist, LLC                          Contingent
         27 Arcturus Drive                                          Unliquidated
         Sewell, NJ 08080                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,389.60
         The Hospitality Group Limited                              Contingent
         Wilmslow Road Didsbury                                     Unliquidated
         Manchester M20 5WZ                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,981.73
         Tokuyama Dental America Inc                                Contingent
         740 Garden View Court, Suite 200                           Unliquidated
         Encinitas, CA 92024                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,629.50
         TPC Advanced Technology                                    Contingent
         851 S.Lawson Street                                        Unliquidated
         City of Industry, CA 91748                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,129.77
         Tuttnauer                                                  Contingent
         PO Box 23279                                               Unliquidated
         New York, NY 10087-3279                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,042.20
         UDM                                                        Contingent
         608 Rolling Hills Drive                                    Unliquidated
         Johnson City, TN 37601                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,277.83
         Uline                                                      Contingent
         2200 S Lakeside Drive                                      Unliquidated
         Waukegan, IL 60085                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,770.00
         UMG Medical Imaging                                        Contingent
         28 Calvert Street                                          Unliquidated
         Harrison, NY 10528                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Unimed-Midwest, Inc                                        Contingent
         21875 Grenada Avenue
         Lakeville, MN 55044
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,950.05
         ValuMax International, Inc                                 Contingent
         848 Hausmnan Road                                          Unliquidated
         Allentown, PA 18104                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Vaniman                                                    Contingent
         140 N. Brandon Rd
         Fallbrook, CA 92028
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: For Noticing Purposes Only

                                                                   Is the claim subject to offset?    No  Yes
3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $145,897.00
         Vatech America Inc.                                        Contingent
         2200 Fletcher Avenue                                       Unliquidated
         Suite 705A                                                 Disputed
         Fort Lee, NJ 07024
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,450.00
         Vector                                                     Contingent
         69th Ave. West University                                  Unliquidated
         Tacoma, WA 98466                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $120.00
         Vector R & D Inc.                                          Contingent
         6824 19th St. #230                                         Unliquidated
         University Place, WA 98466                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $498.84
         Velopex International, Inc.                                Contingent
         105 East 17th Street                                       Unliquidated
         Saint Cloud, FL 34769                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.80
         Villa Radiology Systems                                    Contingent
         199 Park Road Ext.; Suite 107                              Unliquidated
         Middlebury, CT 06762                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,644.84
         Vista Dental Products                                      Contingent
         2200 South Street                                          Unliquidated
         Racine, WI 53404                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,616.96
         VITA North America                                         Contingent
         22705 Savi Ranch Pkwy; Suite 100                           Unliquidated
         Yorba Linda, CA 92887                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,227.94
         W.B.Mason                                                  Contingent
         W.B.Mason Co., Inc                                         Unliquidated
         PO Box 981101                                              Disputed
         Boston, MA 02298-1101
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,884.47
         Water Pik, Inc                                             Contingent
         P.O.Box 74008464                                           Unliquidated
         Chicago, IL 60674-8464                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $690.00
         Xttrium Laboratories                                       Contingent
         1200 E Business Center Dr                                  Unliquidated
         Mount Prospect, IL 60056-6041                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 37 of 38
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Debtor       IQ Dental Supply, LLC                                                                  Case number (if known)
             Name

3.232     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,017.59
          Young Denticator                                                  Contingent
          Young Dental Manufacturing I,LLC                                  Unliquidated
          25787 Network Place                                               Disputed
          Chicago, IL 60673-1257
                                                                           Basis for the claim: Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.233     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,734.00
          Zhermack, Inc                                                     Contingent
          PO Box 4195                                                       Unliquidated
          River Edge, NJ 07661-4195                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.234     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,492.59
          Zirc Dental Products                                              Contingent
          3918 Hwy 55 SE                                                    Unliquidated
          Buffalo, MN 55313                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                    4,712,912.24

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        4,712,912.24




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 38
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Fill in this information to identify the case:

Debtor name        IQ Dental Supply, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Business Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Amazon Services Business Solutions
             List the contract number of any                                        410 Terry Ave N
                   government contract                                              Seattle, WA 98109


2.2.         State what the contract or           Lease for Sharp Copier
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    De Lage Landen Financial Services Inc
             List the contract number of any                                        1111 Old Eagle School Road
                   government contract                                              Wayne, PA 19087


2.3.         State what the contract or           Lease for water cooler
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    DS Business Life Simplified
             List the contract number of any                                        151 W Sumner Ave
                   government contract                                              Kenilworth, NJ 07033




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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Debtor 1 IQ Dental Supply, LLC                                                     Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.4.      State what the contract or        3 year real estate lease
          lease is for and the nature of    commencing in
          the debtor's interest             September 2023 for
                                            property located at
                                            151-4 W. Industry
                                            Court, Deer Park, NY
                                            11729
             State the term remaining                                      F.G.N. Associates
                                                                           c/o Finch Realty
          List the contract number of any                                  55 Central Ave
                government contract                                        Farmingdale, NY 11735


2.5.      State what the contract or        8 year real estate lease
          lease is for and the nature of    commencing on 3/1/21
          the debtor's interest             located at 353C Route
                                            46W, Fairfield New
                                            Jersey
             State the term remaining       6 years                        LMAN LNT LLC
                                                                           d/b/a Fairfield Business Center
          List the contract number of any                                  PO Box 180240
                government contract                                        Brooklyn, NY 11218


2.6.      State what the contract or        5 year real estate lease
          lease is for and the nature of    commencing on 9/30/20
          the debtor's interest             at I-35 Business Center,
                                            Building 3, located at
                                            12100 Crownpoint,
                                            Suite 120, San Antonio,
                                            Texas 78233
             State the term remaining
                                                                           TC II Land LLP
          List the contract number of any                                  100 Sandau Rd., Ste. 300
                government contract                                        San Antonio, TX 78216




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 2
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Fill in this information to identify the case:

Debtor name      IQ Dental Supply, LLC

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    IQ Dental Supply,           353 Route 46W, Building C, Unit 120                      East West Bank                  D       2.1
          Inc.                        Fairfield, NJ 07004                                                                       E/F
                                                                                                                               G



   2.2    Sergey Kunin                78 Weinmanns Blvd.                                       East West Bank                  D       2.1
                                      Wayne, NJ 07470                                                                           E/F
                                                                                                                               G



   2.3    SGD                         Neil L. Prupis, Esq.                                     East West Bank                  D       2.1
          International Inc.          Wilson Elser                                                                              E/F
                                      7 Giralda Farms
                                                                                                                               G
                                      Madison, NJ 07940




   2.4    SGD                         Donna S. Allman, Director                                East West Bank                  D       2.1
          International Inc.          The Grove, 31 Pine Rd, Belleville                                                         E/F
                                      St Michael, BB11113
                                                                                                                               G
                                      BARBADOS




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     Alliance Dental          151-4 W. Industry Court                             F.G.N. Associates            D
          Supply Inc.              Deer Park, NY 11729                                                               E/F
                                                                                                                    G      2.4




Official Form 206H                                              Schedule H: Your Codebtors                                   Page 2 of 2
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Fill in this information to identify the case:

Debtor name         IQ Dental Supply, LLC

United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                             $18,274,898.00
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                             $28,929,734.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                             $32,631,940.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       IQ Dental Supply, LLC                                                          Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
              American Express                                 8/30/2023-11/                 $1,423,333.14          Secured debt
              PO Box 1270                                      28/2023                                              Unsecured loan repayments
              Newark, NJ 07101-1270                                                                                 Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Credit card

      3.2.
              East West Bank                                   8/30/2023-11/                 $4,238,982.18          Secured debt
              9300 Flair Drive, 6th Floor                      28/2023                                              Unsecured loan repayments
              El Monte, CA 91731
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.3.
              Bank of America                                  8/30/2023-11/                   $467,062.66          Secured debt
              3558 James Avenue N                              28/2023                                              Unsecured loan repayments
              Minneapolis, MN 55412-2438                                                                            Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Credit card

      3.4.
              Aidite (Qinhuangdoa) Technology Co.              8/30/2023-11/                   $291,002.00          Secured debt
              Advanced Dental Materials                        28/2023                                              Unsecured loan repayments
              600 Technology Park
              Suite 108
                                                                                                                    Suppliers or vendors
              Lake Mary, FL 32746                                                                                   Services
                                                                                                                    Other

      3.5.
              LMAN LNT LLC                                     8/30/2023-11/                   $143,735.04          Secured debt
              d/b/a Fairfield Business Center                  28/2023                                              Unsecured loan repayments
              PO Box 180240                                                                                         Suppliers or vendors
              Brooklyn, NY 11218                                                                                    Services
                                                                                                                    Other Rent

      3.6.
              Septodont                                        8/30/2023-11/                   $139,117.34          Secured debt
              205 Granite Run Drive, Suite 150                 28/2023                                              Unsecured loan repayments
              Lancaster, PA 17601
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.7.
              Quality Dental                                   8/30/2023-11/                    $82,312.07          Secured debt
              42 Rutland Road                                  28/2023                                              Unsecured loan repayments
              Hempstead, NY 11550
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.8.
              Crown Delta Corporation                          8/30/2023-11/                    $79,460.77          Secured debt
              1520 Front Street                                28/2023                                              Unsecured loan repayments
              Yorktown Heights, NY 10598
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other



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      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.9.
              CHUBB                                           8/30/2023-11/                    $77,696.97          Secured debt
              PO Box 382001                                   28/2023                                              Unsecured loan repayments
              Pittsburgh, PA 15250-8001                                                                            Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Insurance

      3.10
      .
           Oxford Health Plans                                8/30/2023-11/                    $77,689.38          Secured debt
              Horizon BCBS                                    28/2023                                              Unsecured loan repayments
              PO Box 10130                                                                                         Suppliers or vendors
              Newark, NJ 07101-3130                                                                                Services
                                                                                                                   Other Insurance

      3.11
      .
           Luxury Card                                        8/30/2023-11/                    $68,426.03          Secured debt
              P.O.Box 13337                                   28/2023                                              Unsecured loan repayments
              Philadelphia, PA 19101-3337
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.12
      .
           MCC Modular & Custom Cabinets                      8/30/2023-11/                    $50,031.00          Secured debt
              10721 Keele Street N                            28/2023                                              Unsecured loan repayments
              PO Box 580
              Maple ON L6A 1S5
                                                                                                                   Suppliers or vendors
              CANADA                                                                                               Services
                                                                                                                   Other

      3.13
      .
           Lexus Financial Services                           8/30/2023-11/                    $49,664.67          Secured debt
              P.O. Box 659820                                 28/2023                                              Unsecured loan repayments
              San Antonio, TX 78265-9120                                                                           Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Credit Card

      3.14
      .
           Kerr                                               8/30/2023-11/                    $48,971.62          Secured debt
              Kerr Corporation (Lockbox 14338)                28/2023                                              Unsecured loan repayments
              540 W.Madison,4th Floor
              Chicago, IL 60661
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.15
      .
           RAY America                                        8/30/2023-11/                    $41,995.00          Secured debt
              400 Kelby St .Ste 1500                          28/2023                                              Unsecured loan repayments
              Fort Lee, NJ 07024
                                                                                                                   Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.16
      .
           Discover Bank                                      8/30/2023-11/                    $36,488.20          Secured debt
              PO Box 70176                                    28/2023                                              Unsecured loan repayments
              Philadelphia, PA 19176-0176                                                                          Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Credit card


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      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.17
      .
           CitiCard                                            8/30/2023-11/                    $34,237.59          Secured debt
             PO Box 70166                                      28/2023                                              Unsecured loan repayments
             Philadelphia, PA 19176-0166                                                                            Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Credit card

      3.18
      .
           Parkell                                             8/30/2023-11/                    $30,185.98          Secured debt
             300 Executive Drive                               28/2023                                              Unsecured loan repayments
             PO Box 9004
             Brentwood, NY 11717
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.19
      .
           PIX                                                 8/30/2023-11/                    $25,600.00          Secured debt
             Minimax                                           28/2023                                              Unsecured loan repayments
             133 Wolf Road
             Battleboro, NC 27809
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.20
      .
           Greater New York Dental Meeting                     8/30/2023-11/                    $24,620.00          Secured debt
             200 West 41St Street, Suite 1101                  28/2023                                              Unsecured loan repayments
             New York, NY 10036-7203
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.21
      .
           TC II Land,LP                                       8/30/2023-11/                    $24,559.00          Secured debt
             100 Sandau Rd., Ste. 300                          28/2023                                              Unsecured loan repayments
             San Antonio, TX 78216                                                                                  Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Rent

      3.22
      .
           Mainline Medical Dental Supplies                    8/30/2023-11/                    $24,000.00          Secured debt
             100-102 Rossdean Drive                            28/2023                                              Unsecured loan repayments
             North York, ON M9L 2S1
             CANADA
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.23
      .
           Metrex                                              8/30/2023-11/                    $22,827.80          Secured debt
             Metrex Research LLC (Lockbox 14340)               28/2023                                              Unsecured loan repayments
             540 W.Madison, 4th Floor
             Chicago, IL 60661
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.24
      .
           DMG America LLC                                     8/30/2023-11/                    $20,517.84          Secured debt
             65 Challenger Road                                28/2023                                              Unsecured loan repayments
             Suite 340
             Ridgefield Park, NJ 07660
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other



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      Creditor's Name and Address                           Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                Check all that apply
      3.25
      .
           LG H&H USA, INC.                                 8/30/2023-11/                    $19,145.40          Secured debt
             PO Box 894495                                  28/2023                                              Unsecured loan repayments
             Los Angeles, CA 90189-4495
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.26
      .
           Tuttnauer                                        8/30/2023-11/                    $19,022.78          Secured debt
             PO Box 23279                                   28/2023                                              Unsecured loan repayments
             New York, NY 10087-3279
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.27
      .
           ProEdge Dental Product                           8/30/2023-11/                    $17,775.00          Secured debt
             7042 S Revere Parkway, Suite 400               28/2023                                              Unsecured loan repayments
             Centennial, CO 80112
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.28
      .
           The Hartford                                     8/30/2023-11/                    $17,751.98          Secured debt
             P.O. Box 660916                                28/2023                                              Unsecured loan repayments
             Dallas, TX 75266-0916                                                                               Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other Insurance

      3.29
      .
           Pac-Dent, Inc                                    8/30/2023-11/                    $15,431.70          Secured debt
             670 Endeavor Circle                            28/2023                                              Unsecured loan repayments
             Brea, CA 92821
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.30
      .
           Xttrium Laboratories                             8/30/2023-11/                    $15,180.48          Secured debt
             1200 E Business Center Dr                      28/2023                                              Unsecured loan repayments
             Mount Prospect, IL 60056-6041
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.31
      .
           Dentsply Maillefer                               8/30/2023-11/                    $15,091.98          Secured debt
             Dentsply Mailefer Dept. TUL                    28/2023                                              Unsecured loan repayments
             PO Box 822462
             Philadelphia, PA 19182-2462
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other

      3.32
      .
           Reliance Dental MFG, Co.                         8/30/2023-11/                    $12,070.80          Secured debt
             PO Box 38                                      28/2023                                              Unsecured loan repayments
             Worth, IL 60482-0038
                                                                                                                 Suppliers or vendors
                                                                                                                 Services
                                                                                                                 Other



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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.33
      .
           KNK Medical Dental /Pro2 Solutions                      8/30/2023-11/                    $11,525.11            Secured debt
              PO Box 38                                            28/2023                                                Unsecured loan repayments
              Pinole, CA 94564
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other

      3.34
      .
           TD Bank                                                 8/30/2023-11/                      $9,984.45           Secured debt
              1701 Marlton Pike E                                  28/2023                                                Unsecured loan repayments
              Cherry Hill, NJ 08003                                                                                       Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other Credit card

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Sergey Kunin                                         12/1/22 -                          $2,307.69          Salary
              78 Weinmanns Blvd.                                   12/1/23
              Wayne, NJ 07470
              Managing member

      4.2.    Yuliya Iskhakova                                     12/1/22 -                        $23,400.00           Apartment rent for Sergey
              78 Weinmanns Blvd                                    12/1/23                                               Kunin
              Wayne, NJ 07470
              Debtor's landlord

      4.3.    Mainline Medical Dental Supplies                     12/1/22 -                       $108,000.00           Professional Fees
              100-102 Rossdean Drive                               12/1/23
              New York ON M9L 2S1
              CANADA
              Entity related to SGD Intenational Inc.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

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Debtor       IQ Dental Supply, LLC                                                               Case number (if known)



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.1.    Sergey Kunin & IQ Dental                Civil Action                 Superior Court of New                   Pending
              Supply, LLC vs. Alex                                                 Jersey                                  On appeal
              Blinetsky & Yuliya Dyuh                                              Law Division Essex County
              ESX-DC-006066-22                                                     Special Civil
                                                                                                                           Concluded
                                                                                   495 Dr. Martin Luther King,
                                                                                   Jr. Blvd.
                                                                                   Newark, NJ 07102


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.




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Debtor        IQ Dental Supply, LLC                                                             Case number (if known)



                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Trenk Isabel Siddiqi &
                Shahdandian P.C.
                290 W. Mt. Pleasant Avenue
                Suite 2370
                Livingston, NJ 07039                      Attorney Fees                                                11/1/23                   $25,000.00

                Email or website address
                rtrenk@trenkisabel.law

                Who made the payment, if not debtor?
                Alliance Dental Supply Inc.


      11.2.     Trenk Isabel Siddiqi &
                Shahdanian P.C.
                290 W. Mt. Pleasant Avenue
                Suite 2370                                                                                             12/5/23 &
                Livingston, NJ 07039                      Attorney Fees                                                12/6/23                   $50,000.00

                Email or website address
                rtrenk@trenkisabel.law

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?
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Debtor      IQ Dental Supply, LLC                                                                Case number (if known)




          No. Go to Part 9.
          Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    IQ Dental Supply, LLC 401(k) Plan                                                   EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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      None
      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
      Owner's name and address                              Location of the property              Describe the property                                 Value
      Dr Krasnov & Dr Mikhailov                             353 Route 46W, Building               Used equipment                                  Unknown
      StomatCare DSO, LLC                                   C, Unit 120
      333 SE 2nd Ave                                        Fairfield, NJ 07004
      Suite 2520
      Miami, FL 33131


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
          Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
          Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.
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      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Alliance Dental Supply, Inc.             Handles business outside the                      EIN:         XX-XXXXXXX
            353 Route 46W, Building C,               United States
            Unit 120                                                                                   From-To      12/30/13 - current
            Fairfield, NJ 07004

   25.2.    IQ Dental Education Inc.                 Dental assistance education                       EIN:         XX-XXXXXXX
            353 Route 46W, Building C,               program
            Unit 120                                                                                   From-To      11/17/2016 - current
            Fairfield, NJ 07004


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Brian Block                                                                                                        July 2021 - present
                    353 Route 46W, Building C, Unit 120
                    Fairfield, NJ 07004
      26a.2.        PKF O'Connor Davies,LLP                                                                                            2021 - present
                    300 Tice Boulevard
                    Suite 315
                    Woodcliff Lake, NJ 07677

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

            None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

            None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

            None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
          Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Sergey Kunin                           78 Weinmanns Blvd.                                  Managing Member                         50
                                             Wayne, NJ 07470

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      SGD Intenational Inc.                  Donna S. Allman, Director                           Member                                  50
                                             The Grove, 31 Pine Rd, Belleville
                                             St Michael, BB11113
                                             BARBADOS


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Yuliya Iskhakova
      .    78 Weinmanns Blvd                                                                                    12/1/22 -           Apartment rent for
             Wayne, NJ 07470                          $23,400                                                   12/1/-23            Sergey Kunin

             Relationship to debtor
             Debtor's Landlord


      30.2 Mainline Medical Dental
      .    Supplies
             100-102 Rossdean Drive
             New York ON M9L 2S1                                                                                12/1/22 -
             CANADA                                   108,000.00                                                12/1/23             Professional Fees

             Relationship to debtor
             Entity related to SGD
             Intenational Inc.


      30.3 Sergey Kunin
      .    78 Weinmanns Blvd.                                                                                   12/1/22 -
             Wayne, NJ 07470                          $2307.69                                                  12/1/23             Salary

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.



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Debtor      IQ Dental Supply, LLC                                                               Case number (if known)



   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         December 8, 2023

/s/ Sergey Kunin                                                Sergey Kunin
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                 District of New Jersey
 In re       IQ Dental Supply, LLC                                                                           Case No.
                                                                              Debtor(s)                      Chapter        11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                                                                                                              Fees & expenses allowed by the
           For legal services, I have agreed to accept                                                  $
                                                                                                                              Bankruptcy Court
                                                                                                                             $50,000 retainer***
           Prior to the filing of this statement I have received                                        $
                                                                                                              Fees & expenses allowed by the
           Balance Due                                                                                  $
                                                                                                                              Bankruptcy Court

2.    The source of the compensation paid to me was:
                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              General representation of the Debtor in this Chapter 11 case as set forth in the Application for Retention of
              Trenk Isabel Siddiqi & Shahdanian P.C., as counsel to the Debtor.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     December 8, 2023                                                         /s/ Richard D. Trenk
     Date                                                                     Richard D. Trenk
                                                                              Signature of Attorney
                                                                              Trenk Isabel Siddiqi & Shahdanian P.C.
                                                                              290 W. Mt. Pleasant Avenue
                                                                              Suite 2370
                                                                              Livingston, NJ 07039
                                                                              (973) 533-1000 Fax: (973) 533-1111
                                                                              rtrenk@tisslaw.com
                                                                              Name of law firm


*** Prior to the Petition Date, Trenk Isabel Siddiqi & Shahdanian P.C. ("TISS"), received and deposited in trust the sum of
$50,000.00, representing the retainer plus filing fees. TISS applied $13,893.65 in payment of invoices for fees and the filing
fees incurred prior to the Petition Date. TISS maintains a retainer of $36,106.35.
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                                                                  District of New Jersey
 In re    IQ Dental Supply, LLC                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Sergey Kunin                                                                      50 percent                                 LLC Member
353 Route 46W, Building C, Unit 120
Fairfield, NJ 07004

SGD Intenational Inc.                                                             50 percent                                 LLC Member
Donna S. Allman, Director
The Grove, 31 Pine Rd, Belleville
St Michael, BB11113
BARBADOS


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date December 8, 2023                                                    Signature /s/ Sergey Kunin
                                                                                        Sergey Kunin

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                              United States Bankruptcy Court
                                                        District of New Jersey
 In re   IQ Dental Supply, LLC                                                                 Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    December 8, 2023                              /s/ Sergey Kunin
                                                       Sergey Kunin/Managing Member
                                                       Signer/Title
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                        3M Oral Care
                        PO Box 371227
                        Pittsburgh, PA 15250-7227


                        A-Titan Instruments
                        10 Centre Dr.
                        Hamburg, NY 14127


                        Accutron Inc.
                        P.O.Box 74007016
                        Chicago, IL 60674-7016


                        ACE Surgical Supply
                        1034 Pearl Street
                        PO Box 1710
                        Brockton, MA 02303


                        Acteon, Inc
                        124 Gaither Drive Suite 140
                        Mount Laurel, NJ 08054


                        AFP Imaging
                        ImageWorks
                        8 Westchester Plaza
                        Suite 112
                        Elmsford, NY 10523


                        Aidite (Qinhuangdoa) Technology Co.
                        Advanced Dental Materials
                        600 Technology Park
                        Suite 108
                        Lake Mary, FL 32746


                        Air Techniques Products
                        1295 Walt Whitman Road
                        Melville, NY 11747


                        Align Technology/ iTero
                        PO Box 742531
                        Los Angeles, CA 90074-2531


                        Alliance Dental Supply Inc.
                        151-4 W. Industry Court
                        Deer Park, NY 11729
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                    Aluwax Dental Product
                    P.O. Box 87
                    Allendale, MI 49401


                    Amazon Services Business Solutions
                    410 Terry Ave N
                    Seattle, WA 98109


                    American Eagle Instruments, Inc
                    6575 Butler Creek Rd.
                    Missoula, MT 59808


                    American Express
                    PO Box 1270
                    Newark, NJ 07101-1270


                    Ansell Healthcare Products LLC
                    Dept CH 17373
                    Palatine, IL 60055-7373


                    Arnel Inc
                    73 High Street
                    Hempstead, NY 11550


                    Aseptico
                    8333 216th Street SE
                    Woodinville, WA 98072-1548


                    Bank of America
                    3558 James Ave N
                    Minneapolis, MN 55412-2438


                    Bausch
                    12 Murphy Drive, Unit 4
                    Nashua, NH 03062


                    Beavers / Kerr
                    Fifth Third Bank
                    5050 Kingsley Drive
                    Cincinnati, OH 45227


                    Beaverstate Dental, Inc
                    115 South Elliott Rd
                    Newberg, OR 97132
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                    Bien Air
                    8861 Research Drive
                    Irvine, CA 92618


                    Biotec, Inc
                    652 E. Main Ave.
                    Zeeland, MI 49464-1399


                    Blazer Products, Inc
                    88-90 Allen Blvd
                    Farmingdale, NY 11735


                    BonArt
                    550 Yorbita Rd
                    La Puente, CA 91744


                    Brandt Equipment
                    4461 Bronx Blvd.
                    Bronx, NY 10470-1496


                    Bravo! Building Services, Inc.
                    1260 Centennial Avenue
                    Piscataway, NJ 08854


                    Brewer
                    N88 W 13901 Main Street
                    Suite 100
                    Menomonee Falls, WI 53051


                    Buffalo Dental Manufacture Co
                    159 Lafayette Dr.
                    P.O. Box 678
                    Syosset, NY 11791-0678


                    Bulbworks, Inc
                    P.O. Box 586
                    Succasunna, NJ 07876


                    CAO Group
                    4628 W Skyhawk Drive
                    West Jordan, UT 84084


                    Capital One
                    PO Box 71083
                    Charlotte, NC 28272-1083
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                    Cefla North America, Inc
                    6125 Harris Technology Blvd
                    Charlotte, NC 28269


                    Centrix
                    P.O. Box 527
                    Stratford, CT 06615-0527


                    Chapman-Huffman
                    320 S.E. Brideford Blvd
                    Bend, OR 97702


                    Chase
                    PO Box 6294
                    Carol Stream, IL 60197-6294


                    Che Lai Chang
                    East West Bank
                    535 Madison Avenue, 8th Floor
                    New York, NY 10022


                    CitiCard
                    PO Box 70166
                    Philadelphia, PA 19176-0166


                    Clik Tech, Inc
                    12281 N. 120th Street
                    Scottsdale, AZ 85259


                    Coltène/Whaledent Inc.
                    Department 781842
                    PO Box 78000
                    Detroit, MI 48278-1842


                    CONAMCO S.A. de C.V.
                    Medental Intl
                    3008 Palm Hill Dr
                    Vista, CA 92084


                    Consolidated Paper Group, Inc
                    P.O Box 51866
                    Bowling Green, KY 42104
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                    Crosstex International
                    PO Box 74008664
                    Chicago, IL 60674-8664


                    Crown Delta Corporation
                    1520 Front Street
                    Yorktown Heights, NY 10598


                    Crown Seating
                    7300 South Tucson Way
                    Centennial, CO 80112


                    Curtis Marsh
                    9 Beechwood Rd
                    West Caldwell, NJ 07006


                    Cuting Edge Instrument, Inc
                    P.O. Box 715602
                    Columbus, OH 43271-5602


                    Danville Materials
                    2875 Loker Avenue E
                    Carlsbad, CA 92010


                    Darby Dental Supply LLC
                    PO Box 26582
                    New York, NY 10087-6582


                    DCI Fulfilment Solutions
                    361 E Water St
                    Gettysburg, PA 17325


                    DCI International
                    Dental Components LLC
                    Mail Stop 76
                    PO Box 4300
                    Portland, OR 97208


                    De Lage Landen Financial Services Inc
                    1111 Old Eagle School Road
                    Wayne, PA 19087


                    Dedeco International, Inc.
                    11617 State Route 97
                    Long Eddy, NY 12760-0244
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                    Deepak / Keystone
                    480 S Democrat Road
                    Gibbstown, NJ 08027


                    DeLar
                    P.O. Box 226
                    Lake Oswego, OR 97034


                    DenMat
                    1017 W Central Ave
                    Lompoc, CA 93436


                    Dental Chair Adaptors
                    PO Box 818
                    Big Bear City, CA 92314


                    Dental Connections
                    114 41st Street
                    Brooklyn, NY 11232-3320


                    DentalEZ / Custom Air
                    301 Lindenwood Drive
                    Suite 100
                    Malvern, PA 19355


                    DentalEZ / Ramvac
                    301 Lindenwood Drive, Suite 100
                    Malvern, PA 19355


                    DentalEZ / Star Dental
                    301 Lindenwood Drive
                    Suite 100
                    Malvern, PA 19355


                    Dentamerica Inc
                    18688 E. San Jose Avenue
                    City of Industry, CA 91748


                    Denti Smart
                    1810 Industrial Park Drive
                    Suite A
                    Grand Haven, MI 49417
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                    Dentonics,Inc
                    2833 Tophill Road
                    Monroe, NC 28110


                    Dentsply Caulk
                    Dentsply International Inc.
                    Dept. DNA
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dentsply Maillefer
                    Dentsply Maillefer
                    Dept. TUL
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dentsply Midwest
                    Dentsply International Inc.
                    Dept. DNA
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dentsply Pharmaceutical
                    Dentsply International Inc.
                    Dept. DNA
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dentsply Professional
                    Dentsply International Inc.
                    Dept. DNA
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dentsply Rinn
                    Dentsply International Inc.
                    Dept. DNA
                    P.O.Box 822462
                    Philadelphia, PA 19182-2462


                    Dexis LLC
                    450 Commerce Drive
                    Quakertown, PA 18951
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                    Dharma Research
                    5220 NW 72nd Avenue
                    Bay #15
                    Miami, FL 33166


                    Diadent Group International Inc
                    11-3871 North Fraser Way
                    Burnany BC V5J5G6
                    CANADA


                    Directa, Inc (ContacEZ)
                    PO Box 9004
                    Edgewood, NY 11717


                    Discover Bank
                    PO Box 70176
                    Philadelphia, PA 19176-0176


                    Division of Taxation
                    124 Halsey Street
                    2nd Floor
                    Newark, NJ 07102


                    DMG America LLC
                    65 Challenger Road
                    Suite 340
                    Ridgefield Park, NJ 07660


                    Dri-Angle/ Dental Health Products
                    4600 Witmer Industrial Estates Road
                    Suite 8
                    Niagara Falls, NY 14305


                    DS Business Life Simplified
                    151 W Sumner Ave
                    Kenilworth, NJ 07033


                    E. C. Moore Company, Inc
                    13325 Leonard St
                    PO Box 353
                    Dearborn, MI 48121


                    East West Bank
                    9300 Flair Drive, 6th Floor
                    El Monte, CA 91731
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                    East West Bank Corporate Headquaters
                    135 N. Robles Avenue
                    Pasadena, CA 91101


                    EcoGuard,Inc
                    700 S Battleground Ave
                    #103
                    Grover, NC 28073


                    Emerson Healthcare
                    PO Box 37835
                    Baltimore, MD 21297-7835


                    Enbio Corp
                    3535 Gravel Springs Rd
                    Suite 205
                    Buford, GA 30519


                    Engle Dental Systems, LLC
                    7205 NW Evergreen PKWY
                    Suite 100
                    Hillsboro, OR 97124


                    Essential Dental Systems, Inc
                    89 Leuning Street
                    South Hackensack, NJ 07606


                    F.G.N. Associates
                    c/o Finch Realty
                    55 Central Ave
                    Farmingdale, NY 11735


                    FedEx
                    P.O. Box 371461
                    Pittsburgh, PA 15250-7461


                    Flight Dental Systems
                    21 Kenview Blvd #9
                    Brampton, ON T6T 5G7
                    CANADA


                    FlossAid Corporation
                    PO Box 624
                    Santa Clara, CA 95052
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                    Flow X-Ray Corporation
                    Flow Dental Corporation
                    133 Wolf Road
                    Battleboro, NC 27809


                    Focus Global
                    1057 Steeles Ave West
                    Suite 81691
                    North York ON M2R 2S0
                    CANADA


                    Forest Dental
                    301 Lindenwood Drive
                    Suite 100
                    Malvern, PA 19355


                    G&H Orthodontics
                    G & H Wire Company
                    2165 Earlywood Drive
                    Franklin, IN 46131


                    GC America Inc.
                    3737 W. 127th St
                    Alsip, IL 60803


                    George Taub Products
                    277 New York Ave
                    Jersey City, NJ 07307


                    Gill Mechanical Company
                    PO Box 24628
                    Eugene, OR 97402


                    Gingi-Pak
                    4825 Calle Alto
                    Camarillo, CA 93012


                    GM Financial
                    801 Cherry Street, Suite 3500
                    Fort Worth, TX 76102


                    GM Financial
                    PO Box 183593
                    Arlington, TX 76096-3834
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                    Great Plains Dental Product, Inc
                    111 East A Avenue
                    P.O.Box 515
                    Kingman, KS 67068


                    Hager Worldwide
                    441 19th Street SE
                    Hickory, NC 28602


                    Headsets com
                    211 Austin St
                    San Francisco, CA 94109


                    Heartsmart.com / Phillips
                    P.O.Box 1301
                    New Milford, CT 06776


                    Hexa Dental
                    5211 E. Washington Blvd
                    Ste#2-201
                    Commerce, CA 90040


                    Holmes Dental Company
                    50 S. Penn Street
                    Hatboro, PA 19040


                    Hooker Sale Co. Inc.
                    PO Box 491333
                    Leesburg, FL 34749-1333


                    HPTC, Inc
                    20793 Farmington Road
                    Farmington, MI 48336


                    Hu-Friedy
                    29254 Network Place
                    Chicago, IL 60673-1292


                    IC Care
                    2652 McGaw Ave
                    Irvine, CA 92614


                    IDS
                    920 W. 84th Street
                    Hialeah, FL 33014
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                    Integra LifeSciences Sales LLC.
                    P.O.Box 404129
                    Atlanta, GA 30384-4129


                    Internal Revenue Service
                    Special Procedures Branch
                    PO Box 744
                    Springfield, NJ 07081-0744


                    Internal Revenue Service
                    Attn: District Director
                    955 S. Springfield Avenue
                    Springfield, NJ 07081


                    Internal Revenue Service
                    Office of the Chief Counsel
                    1 Newark Center, Suite 1500
                    Newark, NJ 07102


                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    IQ Dental Supply, Inc.
                    353 Route 46W, Building C, Unit 120
                    Fairfield, NJ 07004


                    Isolate Systems
                    I 2 Air Fluid Innovations, Inc.
                    14 Valleywood Dr
                    Huntington Station, NY 11746


                    Ivoclar Vivadent
                    175 Pineview Drive
                    Amherst, NY 14228


                    J&J Instruments, LLC
                    1666 East Touhy Avenue
                    Des Plaines, IL 60018


                    Jarahi International
                    P.O.Box 645
                    Lake Hopatcong, NJ 07849
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                    Jay H Katz
                    450 Seventh Ave, Suite 1308
                    New York, NY 10123


                    Jazz Imaging
                    770 Charcot Ave
                    Suite 100
                    San Jose, CA 95131


                    Johnson-Promident
                    PO Box 734047
                    Chicago, IL 60673-1257


                    JR Rand Corporation
                    300 Buffalo Ave
                    Freeport, NY 11520


                    KaVo Dental
                    11727 Fruehauf Drive
                    Charlotte, NC 28273


                    Kerr
                    Kerr Corporation (Lockbox 14338)
                    540 W.Madison,4th Floor
                    Chicago, IL 60661


                    Keystone Industries
                    480 S. Democrat Road
                    Gibbstown, NJ 08027


                    Kinetic Instruments Inc
                    17 Berkshire Boulevard
                    Bethel, CT 06801


                    Kulzer, LLC
                    24646 Network Place
                    Chicago, IL 60673-1246


                    Kuraray America, Inc.
                    PO Box 123122
                    Dallas, TX 75312-3122
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                    L&R Manufacturing
                    577 Elm Street
                    P.O Box 607
                    Kearny, NJ 07032-0607


                    L.L.Bean Inc.
                    Financial Accounting Services
                    PO Box 1847
                    Albany, NY 12201-1847


                    Larissa Kunin
                    Starr, Gern, Davison & Rubin PC
                    Attn: Bruce Pitman & Alona Magidova
                    105 Eisenhower Parkway, Suite 401
                    Roseland, NJ 07068


                    Lexus Financial Services
                    PO Box 659820
                    San Antonio, TX 78265-9120


                    LG H&H USA, INC.
                    PO Box 894495
                    Los Angeles, CA 90189-4495


                    LMAN LNT LLC
                    d/b/a Fairfield Business Center
                    PO Box 180240
                    Brooklyn, NY 11218


                    LumaLite, Inc.
                    2830 Via Orange Way
                    Suite B
                    Purchase, NY 10577


                    Luxury Card
                    PO Boz 13337
                    Philadelphia, PA 19101-3337


                    Madison Pension Services
                    Concierge Retirement Services Inc.
                    2500 Westchester Avenue, Suite 106
                    Purchase, NY 10577
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                    Mainline Medical Dental Supplies
                    100-102 Rossdean Drive
                    New York ON M9L 2S1
                    CANADA


                    Matthew E. Frisch, Esq.
                    Pashman Stein Walder Hayden PC
                    Court Plaza South, 21 Main St #200
                    Plainfield, NJ 07061


                    Maximum Dental
                    9 Branwood Drive
                    Dix Hills, NY 11746


                    MCC Modular &Custom Cabinets
                    10721 Keele Street N
                    PO Box 580
                    Maple ON L6A 1S5
                    CANADA


                    Medicom
                    AMD Medicom Inc.
                    6054 Shook Road
                    Suite 200
                    Lockbourne, OH 43137


                    Medtexx
                    Semperit Investments Asia Pte Ltd (SIA)
                    8 Jurong Town Hall Road
                    #12-05/06 JTC Summit 609434
                    SINGAPORE


                    Meisinger
                    10150 E. Easter Ave
                    Centennial, CO 80112

                    Metrex
                    Metrex Research LLC (Lockbox 14340)
                    540 W.Madison,4th Floor
                    Chicago, IL 60661


                    Microbrush International
                    25788 Network Place
                    Chicago, IL 60673-1257
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                    Microcopy
                    3120 Moon Station Rd
                    Kennesaw, GA 30144-2765


                    Microtech
                    3030 S. Fairview St, Suite A
                    Santa Ana, CA 92704


                    Midmark
                    60 Vista Drive
                    Versailles, OH 45380


                    Mizzy / Keystone
                    480 S Democrat Road
                    Gibbstown, NJ 08027


                    Moore Medical LLC / McKesson
                    1690 New Britain Avenue
                    Farmington, CT 06032


                    MTI Dental Products
                    730 Airport Road
                    Unit 1
                    Lakewood, NJ 08701


                    Myco Medical
                    PO Box 896578
                    Charlotte, NC 28289-6578


                    NDC Inc.
                    402 BNA Drive, Suite 500
                    Nashville, TN 37217


                    NetSuite, Inc.
                    Celigo,Inc
                    Dept 0402
                    PO Box 120402
                    Dallas, TX 75312-0402


                    New Jersey Division of Taxation
                    Bankruptcy Section
                    PO Box 245
                    Trenton, NJ 08695-0245
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                    Noel's Installation LLC
                    5919 Summerdale Ave
                    Philadelphia, PA 19149


                    Nordent Manufacturing Inc.
                    610 Bonnie Lane
                    Elk Grove Village, IL 60007


                    NSK America
                    1800 Global Parkway
                    Hoffman Estates, IL 60192


                    NYC Dept. of Finance
                    Office of Legal Affairs
                    375 Pearl Street, 30th Floor
                    New York, NY 10038


                    NYS Dept. Taxation & Finance
                    Bankruptcy/Special Procedures Section
                    P.O. Box 5300
                    Albany, NY 12205-0300


                    Office of the Attorney General
                    Division of Law
                    PO Box 080
                    Trenton, NJ 08625-0080


                    Ortech Controls
                    14739 Aurora Ave N UNIT 120
                    Seattle, WA 98133


                    OrthoQuest/Plak Smacker
                    PO Box 734362
                    Chicago, IL 60673

                    Pac-Dent, Inc
                    670 Endeavor Circle
                    Brea, CA 92821


                    Palmero Health Care
                    120 Goodwin Place
                    Stratford, CT 06615-6713
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                    Parkell
                    300 Executive Drive PO Box 9004
                    Brentwood, NY 11717


                    Parker Hannfin Cor / Porter Instrument
                    7930 Collection Center Drive
                    Chicago, IL 60693


                    Parts Warehouse
                    309 Judson
                    Lynden, WA 98264


                    Pascal International, Inc
                    2929 NE Northup Way
                    Bellevue, WA 98004


                    PDT Inc
                    8275 Highway 10 West
                    PO Box 17980
                    Missoula, MT 59808


                    Pentron /Kerr Corp.
                    14338 Collection Center Drive
                    Chicago, IL 60693


                    Pinnacle
                    Pinnacle (Lockbox 14340)
                    540 W.Madison,4th Floor
                    Chicago, IL 60661


                    PIX
                    Minimax
                    133 Wolf Road
                    Battleboro, NC 27809


                    PKF O'Connor Davies,LLP
                    300 Tice Boulevard
                    Suite 315
                    Woodcliff Lake, NJ 07677


                    Plasdent Corporation
                    969 Price Street
                    Pomona, CA 91767
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                    Polaroid Dental Imaging
                    8 Jay Court
                    Monsey, NY 10952


                    Premier
                    PO Box 825429
                    Philadelphia, PA 19182-5429


                    Preventech
                    PO Box 1409
                    Indian Trail, NC 28079


                    ProEdge Dental Product
                    7042 S Revere Parkway, Suite 400
                    Centennial, CO 80112


                    Proma
                    730 East Kingshill Place
                    Carson, CA 90746-1392


                    ProxySoft Worldwide,Inc
                    17 C Trowbridge Drive
                    Bethel, CT 06801


                    Pulpdent Corp
                    P.O. BOX 780
                    Watertown, MA 02471-0780


                    PuraGraft
                    22001 Northpark Drive, Suite 700
                    Kingwood, TX 77339


                    Quality Aspirators
                    PO Box 382120
                    Duncanville, TX 75138


                    Quality Dental
                    42 Rutland Road
                    Hempstead, NY 11550


                    RAY America
                    400 Kelby St .Ste 1500
                    Fort Lee, NJ 07024
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                    Rebec
                    PO Box 658
                    Edmonds, WA 98020


                    Replacement Parts Industries, Inc
                    PO Box 713198
                    Chicago, IL 60677-0398


                    Revion Solutions Incorporated
                    184 South Livingston Ave
                    STE 9#306
                    Livingston, NJ 07039


                    Richmond Dental Company
                    Dept.720082
                    PO Box 1335
                    Charlotte, NC 28201-1335


                    Roydent
                    608 Rolling Hills Drive
                    Johnson City, TN 37604


                    Sable Industries Inc
                    100 Campbell Ave., Suite 5
                    Kitchener ON N2H 4X8
                    CANADA


                    Safe-Dent Enterprises LLC
                    4 Orchard Hill Drive
                    Monsey, NY 10952


                    Safe-Vac
                    6745 Elegante Way
                    San Diego, CA 92130

                    Sanford Levine & Sons
                    400 Rt 46 East
                    Fairfield, NJ 07004


                    SDI
                    1279 Hamilton Parkway
                    Itasca, IL 60143
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                    Septodont
                    205 Granite Run Drive, Suite 150
                    Lancaster, PA 17601


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                    78 Weinmanns Blvd.
                    Wayne, NJ 07470


                    SGD International Inc.
                    Neil L. Prupis, Esq.
                    Wilson Elser
                    7 Giralda Farms
                    Madison, NJ 07940


                    SGD International Inc.
                    Donna S. Allman, Director
                    The Grove, 31 Pine Rd, Belleville
                    St Michael, BB11113
                    BARBADOS


                    Sherman Specialty Company
                    300 Jericho Quadrangle
                    Suite 240 West
                    Jericho, NY 11753


                    Shofu Dental Corporation
                    1225 Stone Drive
                    San Marcos, CA 92078-4059


                    Solmetex
                    50 Bearfoot Road
                    Northborough, MA 01532


                    South East Instruments, LLC
                    Pac-Dent
                    670 Endeavor Circle
                    Brea, CA 92821


                    Southeast Medical Products, Inc
                    5524 Commerce Dr
                    Orlando, FL 32839


                    Spring Health Products
                    705 General Washington Ave, Suite 701
                    Norristown, PA 19403
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                    SprintRay Inc.
                    3577 N Figueroa St
                    Los Angeles, CA 90065


                    SS White Burs, Inc.
                    1145 Towbin Avenue
                    Lakewood, NJ 08701


                    State of New Jersey
                    Division of Taxation
                    Sales & Use Tax
                    PO Box 999
                    Trenton, NJ 08625


                    State of New Jersey
                    Division of Taxation - GIT
                    50 Barrack Street
                    PO Box 269
                    Trenton, NJ 08625


                    State of New Jersey
                    Department of Labor
                    Divison of Employer Accounts
                    PO Box 379
                    Trenton, NJ 08625-0059


                    Strauss Diamond Instruments Inc.
                    9 Florida Park Drive N.
                    Palm Coast, FL 32137


                    Subaru Motors Finance
                    14800 Frye Road
                    Fort Worth, TX 76155-2732


                    Suburban Propane
                    PO Box J
                    Whippany, NJ 07981-0409


                    Summit Dental Systems
                    1280 SW 27 Avenue
                    Pompano Beach, FL 33069


                    Suni Medical Imaging
                    6840 Via Del Oro, Suite 160
                    San Jose, CA 95119
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                    Superior Handling Solutions
                    PO Box 257
                    Howell, NJ 07731-0257


                    Superior Upholstery
                    2103 W Church St.
                    Orlando, FL 32805


                    Surgical Esthetics
                    19355 Business Center Drive Unit #8
                    Northridge, CA 91324


                    Surgical Specialties Corporation
                    1100 Berkshire Blvd, Suite 308
                    Wyomissing, PA 19610


                    SymplBrush
                    1562 1st Ave.
                    New York, NY 10028


                    Takara Belmont USA, Inc
                    PO Box 358141
                    Pittsburgh, PA 15251-5141


                    TC II Land LLP
                    100 Sandau Rd., Ste. 300
                    San Antonio, TX 78216


                    TD Bank
                    1701 Marlton Pike E
                    Cherry Hill, NJ 08003


                    Teal's Express, Inc.
                    PO Box 6010
                    Watertown, NY 13601


                    Temrex Corp.
                    300 Buffalo Ave
                    Freeport, NY 11520


                    Texas Comptroller of Public Accounts
                    Revenue Accounting Division - Bankruptcy
                    P.O. Box 13528 Capitol Station
                    Austin, TX 78711
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                    TForce Freight
                    28013 Network Place
                    Chicago, IL 60673-1280


                    The Dental Repair Specialist, LLC
                    27 Arcturus Drive
                    Sewell, NJ 08080


                    The Hospitality Group Limited
                    Wilmslow Road Didsbury
                    Manchester M20 5WZ


                    Tokuyama Dental America Inc
                    740 Garden View Court, Suite 200
                    Encinitas, CA 92024


                    TPC Advanced Technology
                    851 S.Lawson Street
                    City of Industry, CA 91748


                    Tuttnauer
                    PO Box 23279
                    New York, NY 10087-3279


                    UDM
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                    Johnson City, TN 37601


                    Uline
                    2200 S Lakeside Drive
                    Waukegan, IL 60085


                    UMG Medical Imaging
                    28 Calvert Street
                    Harrison, NY 10528


                    Unimed-Midwest, Inc
                    21875 Grenada Avenue
                    Lakeville, MN 55044


                    United States Attorney
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                    5th Floor
                    Newark, NJ 07102
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                    ValuMax International, Inc
                    848 Hausmnan Road
                    Allentown, PA 18104


                    Vaniman
                    140 N. Brandon Rd
                    Fallbrook, CA 92028


                    Vatech America Inc.
                    2200 Fletcher Avenue
                    Suite 705A
                    Fort Lee, NJ 07024


                    Vector
                    69th Ave. West University
                    Tacoma, WA 98466


                    Vector R & D Inc.
                    6824 19th St. #230
                    University Place, WA 98466


                    Velopex International, Inc.
                    105 East 17th Street
                    Saint Cloud, FL 34769


                    Villa Radiology Systems
                    199 Park Road Ext.; Suite 107
                    Middlebury, CT 06762


                    Vista Dental Products
                    2200 South Street
                    Racine, WI 53404


                    VITA North America
                    22705 Savi Ranch Pkwy; Suite 100
                    Yorba Linda, CA 92887


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                    W.B.Mason Co., Inc
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                    Boston, MA 02298-1101


                    Water Pik, Inc
                    P.O.Box 74008464
                    Chicago, IL 60674-8464
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                    Xttrium Laboratories
                    1200 E Business Center Dr
                    Mount Prospect, IL 60056-6041


                    Young Denticator
                    Young Dental Manufacturing I,LLC
                    25787 Network Place
                    Chicago, IL 60673-1257


                    Zhermack, Inc
                    PO Box 4195
                    River Edge, NJ 07661-4195


                    Zirc Dental Products
                    3918 Hwy 55 SE
                    Buffalo, MN 55313
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                                         United States Bankruptcy Court
                                                  District of New Jersey
 In re   IQ Dental Supply, LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for IQ Dental Supply, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
SGD Intenational Inc.
Donna S. Allman, Director
The Grove, 31 Pine Rd, Belleville
St Michael, BB11113
BARBADOS




 None [Check if applicable]




December 8, 2023                               /s/ Richard D. Trenk
Date                                           Richard D. Trenk
                                               Signature of Attorney or Litigant
                                               Counsel for IQ Dental Supply, LLC
                                               Trenk Isabel Siddiqi & Shahdanian P.C.
                                               290 W. Mt. Pleasant Avenue
                                               Suite 2370
                                               Livingston, NJ 07039
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                                               rtrenk@trenkisabel.law
